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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

 _________________________________

 SHARPE HOLDINGS, INC., et al.,

             Plaintiffs-Appellees,

      v.                                         No. 14-1507

 UNITED STATES DEPARTMENT
 OF HEALTH AND HUMAN
 SERVICES, et al.,

             Defendants-Appellants.


    MOTION OF APPELLEES FOR ATTORNEY FEES AND EXPENSES




                                       	


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                                  INTRODUCTION

         Plaintiffs-Appellees CNS International Ministries (CNS) and Heartland

 Christian College (HCC) (collectively, Movants) are the prevailing parties in this

 appeal and move for an award of attorney fees and expenses pursuant to 42 U.S.C.

 1988.

         Congress enacted 42 U.S.C. 1988 in order to ensure that federal rights are

 adequately enforced. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 550 (2010).

 Section 1988 provides for recovery of attorney fees in actions to enforce the

 Religious Freedom Restoration Act (RFRA). 42 U.S.C. 1988(b). Counsel for a

 prevailing party under § 1988 “should be paid, as is traditional with attorneys

 compensated by a fee paying client, ‘for all time reasonably expended on a

 matter.’” Blanchard v. Bergeron, 489 U.S. 87, 91 (1989) (citing S. Rep. No. 94-

 1011, p. 6 (1976) (legislative history of § 1988)).

         This was not an ordinary case. First, this Court’s September 17, 2015

 opinion created a circuit split; the seven other courts of appeals to address the issue

 ruled against the religious claimants. This split gave all the nonprofit challengers to

 the contraceptive mandate the foothold they needed with the Supreme Court,

 which granted certiorari in their cases several weeks after this Court’s decision.

 Second, as the parties were preparing for the December 2014 oral argument in this

 case, they had to change course and file additional “supplemental” briefs because


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 of regulatory changes to the “accommodation” that had resulted in an “augmented

 accommodation” in the summer of 2014. Third, in addition to the changing

 regulatory landscape, relevant court decisions were rapidly handed down causing

 the parties to provide many 28(j) letters and responses while the Court was

 deliberating. Finally, Movants filed two briefs with the Supreme Court: (1) a

 response to the government’s petition for writ of certiorari in this case; and (2) an

 amicus brief in a related case, Zubik v. Burwell, Nos. 14-1418, 14-1453, 14-1505,

 15-35, 15-105, 15-119 and 15-191 (Sup. Ct.).

        Given the unique success achieved, and for the reasons more fully explained

 below, Movants’ attorneys are now entitled under applicable law to recover their

 expenses and the reasonable lodestar for the services they provided. Hensley v.

 Eckerhart, 461 U.S. 424, 433 (1983).

                                    DISCUSSION

                       I. Lodestar Methodology and Factors

        The starting point for determining a reasonable attorney fee is the “lodestar”

 calculation: that is, the number of hours reasonably expended multiplied by a

 reasonable hourly rate. Hanig v. Lee, 415 F.3d 822, 825 (8th Cir. 2005). The

 “resulting product is presumed to be the minimum reasonable fee to which counsel

 is entitled.” Pennsylvania v. Delaware Valley Citizens Council for Clean Air, 478

 U.S. 546, 564 (1986) (emphasis in original). Adjustments to the lodestar are


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 appropriate only for a limited number of reasons and in “exceptional cases” and the

 burden of proving an adjustment is to be borne by the party seeking the adjustment.

 Perdue, 559 U.S. at 552, 554. The lodestar “presumption is a ‘strong’ one.” Id. at

 552.

         “The primary purpose of this formulation is to promote diffuse private

 enforcement of civil rights law by allowing the citizenry to monitor rights

 violations at their source, while imposing the costs of rights violations on the

 violators.” Casey v. City of Cabool, 12 F.3d 799, 805 (8th Cir. 1993). As the

 Supreme Court has explained:

      When a plaintiff succeeds in remedying a civil rights violation, we have stated,
      he serves “as a ‘private attorney general,’ vindicating a policy that Congress
      considered of the highest priority.” He therefore “should ordinarily recover an
      attorney’s fee” from the defendant—the party whose misconduct created the
      need for legal action. Fee-shifting in such a case at once reimburses a plaintiff
      for “what it cos[t][him] to vindicate [civil] rights,” and holds to account “a
      violator of federal law.”

 Fox v. Vice, 563 U.S. 826, 833 (2011) (quoting Newman v. Piggie Park

 Enterprises, Inc., 390 U.S. 400, 402 (1968), Christiansburg Garment Co. v. EEOC,

 434 U.S. 412, 416, 418 (1978), and Riverside v. Rivera, 477 U.S. 561, 577-78

 (1986)).

                           A. Hours Reasonably Expended

         Congress intended that “[i]n computing the fee, counsel for prevailing

 parties should be paid, as is traditional for attorneys compensated by a fee-paying


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 client, ‘for all time reasonably expended on a matter.’” Casey, 12 F.3d at 805. The

 hours devoted to the litigation include all work on all matters involving the

 “common core of facts” and work “based on related legal theories.” Hensley v.

 Eckerhart, 461 U.S. 424, 433, 435 (1983). As the Supreme Court recognized,

 “[m]uch of counsel’s time will be devoted generally to the litigation as a whole,

 making it difficult to divide the hours expended on a claim-by-claim basis. Such a

 lawsuit cannot be viewed as a series of discrete claims.” Id. at 435. The “result is

 what matters,” even if “the plaintiff failed to prevail on every contention.” Id. at

 435.

         Movants used primarily two lawyers in the prosecution of this case, Timothy

 Belz and Matthew Belz of Ottsen, Leggat & Belz, L.C. Tim Belz, a partner, spent

 625.5 hours on the case and Matt Belz, an associate for some of the case but a

 partner since late 2015, spent 377.3 hours on the case. Carl H. Esbeck, a professor

 at the University of Missouri School of Law, spent 71.8 hours on the case. Detailed

 reports, first for Tim Belz and Matt Belz and then for Professor Esbeck, are

 attached as Exhibit 1. A spreadsheet breakdown of the hours worked by each

 attorney during the different stages of the litigation is attached as Exhibit 2.

         Both Movants have prevailed in this case against every defendant and have,

 since their preliminary injunction on December 30, 2013, obtained the relief they

 have sought along the way.


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               The following four subsections are summaries of the work done by

 Movants’ attorneys at each of the main stages in the litigation.

                                                             1. District Court Proceedings1

               Movants’ attorneys worked 214.8 hours at the district court prior to the

 government’s appeal.

               Movants’ attorneys’ initial work involved researching their claims and the

 quickly evolving legal landscape, amending their complaint, and joining the

 nonprofit parties to the case. (The case previously involved related for-profit

 entities challenging the contraceptive mandate.) Movants’ attorneys then began

 working on their motion for a preliminary injunction, the 44-page memorandum in

 support, supporting declarations, and related research.

               This prompted a 30-page brief from the government in opposition to

 Movants’ motion for injunctive relief, as well as an amicus brief from the

 American Civil Liberties Union. Doc. 68; Doc. 74.

               Movants then filed a 19-page reply brief on December 25, 2013. Doc. 78.

               During the last days of December, 2013, Movants and the government also

 filed supplemental authorities, notifying the court of related decisions that were


 																																																													
 1
   Movants are unsure if this Court will decide this subsection of the motion, as it
 applies to fees and expenses before the district court. But even if this Court does
 not decide fees and expenses before the district court, the information contained in
 this subsection provides context.
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 issuing in courts around the country. The end of the year was particularly active

 and important because many insurance plan years end with the calendar year.

               The district court entered a preliminary injunction in favor of Movants on

 December 30, 2013, and Movants have had an abortifacient-free insurance plan

 since that date, despite contrary regulations. Doc. 84. That relief obtained by the

 Movants, which “the focus should be on,” is “real.” Easley v. Empire Inc., 757

 F.2d 923, 931-32 (8th Cir. 1985); Buckhannon Bd. & Care Home, Inc. v. W.

 Virginia Dept. of Health & Human Res., 532 U.S. 598, n.13 (2001).

               The preliminary injunction has never been disturbed, making Movants

 prevailing parties2 under § 1988. Planned Parenthood Great Plains v. Williams,

 863 F.3d 1008, 1011 (8th Cir. 2017) (citing Bishop v. Comm. on Prof’l Ethics &

 Conduct of Iowa State Bar Ass’n, 686 F.2d 1278, 1290 (8th Cir. 1982)).

                                                                 2. Before the Eighth Circuit

               In March of 2014, the government filed its appeal and on May 22, 2014, the

 government filed a 41-page Appellants’ Brief. Several amicus briefs were filed

 shortly thereafter in support of the government’s position, including those by the

 American Civil Liberties Union, NARAL Pro-Choice America and Planned

 Parenthood of the St. Louis Region and Southwest Missouri.

 																																																													
 2
   Movants intend to further prevail in the district court, to which the case has been
 remanded, by obtaining the declaratory and permanent injunctive relief prayed for
 in their complaint.
 	                                                                            6


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         On June 30, 2014, the relevant controlling authority was clarified

 dramatically when the Supreme Court handed down its opinion in Burwell v.

 Hobby Lobby Stores, Inc., 134 S. Ct. 2751 (2014). Less than a month later, the

 Supreme Court decided that a nonprofit college did not have to follow portions of

 the “accommodation” that set forth the means by which it was to notify the

 Government of its objection to providing contraceptive coverage to employees.

 Wheaton Coll. v. Burwell, 134 S. Ct. 2806 (2014).

         On July 22, 2014, Movants CNS and HCC filed a 68-page Appellees’ Brief

 and Addendum. Movants’ attorneys spent 251.8 hours on the initial briefing

 process before this Court.

         After the parties filed their initial briefs, the contraceptive mandate began an

 evolution that continued until as recently as October 6, 2017. For nonprofits, there

 was originally a “temporary safe harbor,” and then an “accommodation,” and then

 an “augmented accommodation.” Part of this evolution occurred before oral

 argument in the appeal in this case, and so in November 2014, the government and

 Movants filed “supplemental” briefs, each of which was 37 pages long, detailing

 and arguing the effects of the regulatory changes on the lawsuit. Movants’

 attorneys spent 93.9 hours on their supplemental briefing and other things during

 this timeframe.




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         During what was roughly a month before oral argument, Movants reviewed

 a multitude of related decisions, monitored oral arguments that were taking place

 in related cases, held a moot court, and otherwise prepared for oral argument. Oral

 argument occurred on December 10, 2014. Movants’ attorneys spent 102.9 hours

 on this portion of the appeal.

         In the months following oral argument, but before this Court’s opinion in

 September 2015, CNS and HCC submitted three Rule 28(j) letters. They also

 responded to seven of the eight 28(j) letters filed by the government. This was an

 active period of appellate legislation in the contraceptive mandate cases as many of

 the appeals of the December, 2013 district court judgments were being decided.

         On September 17, 2015, this Court affirmed the district court’s decision in

 favor of CNS and HCC. The other seven appellate courts to rule on the matter

 ruled against the religious claimants. Between oral argument and when the Court’s

 decision was handed down, Movants’ attorneys spent 123.3 hours on the case.

         In total, Plaintiff’s attorneys worked 571.9 hours at this Court prior to

 beginning work at the Supreme Court.

                               3. Before the Supreme Court

         This Court issued its opinion on September 17, 2015, creating a split in the

 circuits. The Supreme Court granted the other religious claimants’ petitions for

 certiorari in all the other cases on November 6, 2015. In the case at bar, the


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 government waited until the 89th day (December 15, 2015) to file its petition for a

 writ of certiorari. This made consolidation with the existing cases unlikely and,

 because the cases before the Supreme Court were already being briefed, this

 effectively thwarted any possibility that CNS and HCC would be able to defend

 this Court’s decision in their favor before the Supreme Court. On January 28,

 2016, CNS and HCC filed a response to the government’s certiorari petition.

 Exhibit 3. Movants’ attorneys worked 43.6 hours during this timeframe.

         On January 8, 2016, CNS and HCC also filed an amicus brief in the related

 and aforementioned Supreme Court case, Zubik v. Burwell, Nos. 14-1418, 14-

 1453, 14-1505, 15-35, 15-105, 15-119 and 15-191 (Sup. Ct.). Exhibit 4. The Zubik

 plaintiffs were similarly situated to CNS and HCC, and if the Supreme Court had

 issued a substantive opinion, it would have likely ended the case at bar one way or

 the other. The amicus brief detailed the many changes—about eight—made by the

 government to make the contraceptive mandate less restrictive to religious

 freedom, despite prior government claims in each instance that the then-current

 iteration of the mandate was the least restrictive. This repeated moving of the goal

 posts by the government goes a long way toward explaining why this case was as

 time-consuming as it was. Movants’ attorneys spent 63.8 hours working on the

 amicus brief and other items during this period.




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         Time spent working on amicus briefs should be awarded if it is expended “in

 pursuit of a successful resolution in th[e] matter and a reasonably prudent attorney

 would have done the same . . .” Boehner v. McDermott, 541 F. Supp. 2d 310, 320

 (D.D.C. 2008); Hasbrouck v. Texaco, Inc., 879 F.2d 632 (9th Cir.1989) (holding,

 in antitrust context, award of attorney fees for amicus work in a related case was

 reasonable because a reasonable and prudent lawyer would have undertaken such

 work to advance or protect his client’s interest); see also Nat’l Ass’n of Concerned

 Veterans v. Sec’y of Def., 675 F.2d 1319, 1335 (D.C. Cir. 1982) (“Compensable

 time should not be limited to hours expended within the four corners of the

 litigation”; instead, time is compensable as long as it was “expended in pursuit of a

 successful resolution of the case in which fees are being claimed.”).

         On June 16, 2016, the Supreme Court vacated every other circuit decision in

 the related cases, remanding for further proceedings. At the same time, it granted

 certiorari in this case, vacated this Court’s decision, and remanded for further

 proceedings.

         Movants’ attorneys worked a total of 107.4 hours before the Supreme Court.

                      4. Before the Eighth Circuit on Remand

         The Supreme Court’s decision to vacate the circuits’ decisions was

 accompanied by a mandate that the parties find an alternative solution to the




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 problematic “augmented accommodation” that was in place. Zubik v. Burwell, 136

 S. Ct. 1557, 1560 (2016).

         For more than a year starting on July 21, 2016, the government filed status

 reports, eight in total. CNS and HCC responded to some of these.

         During this time, and as part of what they believed to be their responsibility

 under Zubik, CNS and HCC filed with the Centers for Medicare & Medicaid

 Services a response to the government’s Request For Information (RFI) regarding

 possible ways the government could respect religious objections while still

 furthering its stated interests.

         Also, during this time, various ideas for settlement were discussed among

 the many attorneys for the religious claimants and the government.

         On October 6, 2017, the Government issued an interim final rule that indeed,

 at last, respected religious objections to the contraceptive mandate. On the same

 day, the Government dismissed its appeal in the case at bar.

         Finally, during settlement negotiations and on this motion for fees, Tim Belz

 has reasonably expended 51.7 hours and Matt Belz has reasonably expended 24.6

 hours. Time reasonably spent on an application for fees and expenses is

 recoverable. Sellers v. Peters, 624 F. Supp. 2d 1064, 1068 (E.D. Mo. 2008) (citing

 Jorstad v. IDS Realty Trust, 643 F.2d 1305 (8th Cir. 1981)). Movants’ attorneys

 were able to use some of the work they did on a previous fee application, relating


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 only to the for-profit portion of this case, in order to minimize time spent. See Doc.

 118, Sharpe Holdings, Inc. v. U.S. Dep’t of Health & Human Services, 2:12 CV 92

 DDN (E.D. Mo.).

         Movants’ attorneys have worked a total of 180.5 hours in the nearly 18

 months this case has been on remand to this Court.

                                           ***

         The above descriptions do not include the many meetings, phone calls and

 hours spent on research and routine motions. The attached time reports contain

 more detailed explanations of the time spent on this case by Movants’ attorneys.

                                  B. Reasonable Rates

         In setting reasonable attorney fees, the touchstone is whether the rates are in

 line with those prevailing in the community for comparable services by lawyers of

 reasonably comparable skill, experience, and reputation. See Moore v. City of Des

 Moines, 766 F.2d 343, 346 (8th Cir. 1988). “Community” should be given an

 expansive reading, and other parts of the state, like Kansas City, help define the

 relevant market. See McDonald v. Armontrout, 860 F.2d 1456, 1459 (8th Cir.

 1988). In a complex matter, the relevant market “may extend beyond the local

 geographic community” and include the national market or a market for a

 particular legal specialization. Casey v. City of Cabool, 12 F.3d 799, 805 (8th Cir.

 1993).


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         The Eighth Circuit and courts within it have affirmed approval of higher

 than usual hourly rates based on the specialized skill of counsel, particularly in the

 area of civil rights. White v. McKinley, 05-0203-CV-W-NKL, 2009 WL 813372, at

 *8 (W.D. Mo. Mar. 26, 2009) (citing Hendrickson v. Branstad, 934 F.2d 158, 164

 (8th Cir. 1991) (affirming rate based on that of comparable nationally-prominent

 federal civil rights counsel, rather than local counsel, because of attorney’s

 expertise in civil rights law)); Snider v. City of Cape Giradeau, 752 F.3d 1149,

 1160 (8th Cir. 2014) (discussing need to attract experienced counsel, including in

 civil rights cases).

         Movants’ attorneys seek the following rates:

         Attorney                 Rate
         Tim Belz                 $450
         Carl Esbeck              $450
         Matt Belz                $250

                1. The Requested Rates For Movants’ Attorneys
            Were Approved as Reasonable in this Case Two Years Ago.

         The rates requested for Movants’ attorneys in this case were approved and

 expressly deemed reasonable by Judge David Noce in this case in 2015, when the

 associated for-profit plaintiffs successfully challenged the contraceptive mandate.

 Sharpe Holdings, Inc. v. U.S. Dep’t of Health & Human Services, 2:12 CV 92

 DDN, 2015 WL 3773426, at *2-3 (E.D. Mo. June 17, 2015) (“the court finds that

 an hourly rate of $450 is reasonable for Timothy Belz, Esq.”; “the court finds that


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 an hourly rate of $250 is reasonable for J. Matthew Belz, Esq.”; “the court finds

 Professor Esbeck substantially contributed to the lawsuit and $450.00 per hour is a

 reasonable rate for his services as an experienced, specialized attorney and

 professor.”). The government did not challenge these rates.

                     2. Missouri Lawyers Weekly “Billing Rates”

         District courts often cite Missouri Lawyers Weekly’s annual “Billing Rates”

 feature as helpful in determining reasonable rates. See e.g. Buzzanga v. Life Ins.

 Co. of N. Am., 4:09-CV-1353 CEJ, 2013 WL 784632, at *1 (E.D. Mo. Mar. 1,

 2013). For St. Louis in 2017, the issue listed the average partner rate at $504 per

 hour and the average associate rate at $269 per hour. See “Billing Rates 2017,”

 Missouri Lawyers Weekly, http://molawyersmedia.com/2017/08/07/st-louis-

 averages-411-kansas-city-373/ (last visited Oct. 18, 2017).

                                    3. Missouri Cases

         There are several Missouri district court cases that support the rates

 proposed by the Movants (in addition to the aforementioned attorney fees decision

 by Judge Noce in the for-profit portion of this case). The cases below start with the

 most recent:

      • In Holmes v. Slay, 4:12-CV-2333 HEA, 2017 WL 994473 (E.D. Mo. Mar.

         15, 2017), rates of $250, $330, $350, $400 and $450 per hour were

         identified as reasonable in a civil rights case. Id. at *4.


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      • In LC Franchisor, LLC v. Valley Beef, LLC, 4:15-CV-00383-JCH, 2016 WL

         7405841 (E.D. Mo. Dec. 22, 2016), appeal dismissed sub nom. LC Corp.,

         LLC v. Valley Beef, LLC, 17-1146, 2017 WL 3200323 (8th Cir. Mar. 9,

         2017), rates between $355 and $477 per hour were approved for two St.

         Louis attorneys. Id. at *2.

      • In S.M. v. Lincoln County, 4:12CV02276 PLC, 2016 WL 6441587 (E.D.

         Mo. Nov. 1, 2016), rates of $350, $375 and $450 per hour were identified as

         reasonable in a civil rights case. Id. at *9.

      • In Planned Parenthood of Kansas & Mid-Missouri, Inc. v. Lyskowski, 2:15-

         CV-04273-NKL, 2016 WL 4083484 (W.D. Mo. Aug. 1, 2016), the court

         awarded the plaintiff $156,630.68 in fees and expenses. Id. at *1. The

         opinion did not list the attorneys’ rates, but the pleadings show that that they

         were between $315 and $500 per hour for each of the five attorneys, two of

         whom were associates. Id. at Doc. 85, p. 7; Doc. 85-1.

      • In Thornton v. Mainline Communications, LLC, 4:12-CV-00479 SNLJ, 2016

         WL 687844 (E.D. Mo. Feb. 19, 2016), the court found a law school

         classmate of Matthew Belz, who is claiming $250 per hour in this case, to

         have a reasonable hourly rate of $250. Id. at *2.

      • In SSM Managed Care Org., L.L.C. v. Comprehensive Behavioral Care,

         Inc., 4:12-CV-2386 CAS, 2014 WL 1389581 (E.D. Mo. Apr. 9, 2014), the

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         court found that “the billing rates for litigation partners in St. Louis firms

         vary from a high of $495 to $550/hour to a low of $230 to $295/hour,” and

         that rates of $235 to $247.50 for a litigation associate were “reasonable (if

         not low) compared to litigation associates in the St. Louis area firms.” Id. at

         *3.

      • In Maher v. Barton, 4:13-CV-2260 CEJ, 2014 WL 1316936 (E.D. Mo. Apr.

         2, 2014), the court found another law school classmate of Matthew Belz to

         have a reasonable hourly rate of $280. Id. at *2.

      • In Executive Affiliates, Inc. v. AAF-McQuay, Inc., 4:12-CV-175 CEJ, 2013

         WL 6571595 (E.D. Mo. Dec. 13, 2013), the court found $450 to be a

         reasonable partner rate and $300 to be a reasonable associate rate. Id. at *3.

      • In Albright v. Bi-State Dev. Agency of Missouri-Illinois Metro. Dist.,

         4:11CV01691 AGF, 2013 WL 4855304 (E.D. Mo. Sept. 11, 2013), the court

         found a lead counsel rate of $500 to be reasonable. Id. at *8. The other

         attorneys’ rates were apparently between $245 and $300. Id.

      • In Gregory v. United States, 110 Fed. Cl. 400 (2013), the United States

         Court of Federal Claims analyzed Kansas City rates and found “$475 per

         hour for partners” and “$275 per hour for associates” to be “not only . . .

         reasonable, [but] average or below average for the Kansas City market.” Id.

         at 406.

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      • In Tussey v. ABB, Inc., 06-04305-CV-C-NKL, 2012 WL 5386033 (W.D.

         Mo. Nov. 2, 2012) vacated and remanded (on other grounds), 746 F.3d 327

         (8th Cir. 2014), the court found a “blended hourly rate of $514.60” to be

         reasonable and applied the rate uniformly to plaintiffs’ attorneys, which had

         various levels of experience. Id. at *4.

      • In Hunter Eng’g Co. v. Hennessy Indus., Inc., 4:08 CV 465 DDN, 2010 WL

         2628336 (E.D. Mo. June 25, 2010), the Court agreed to hourly attorney rates

         from $300 to $440. Id. at *3.

      • In Betton v. St. Louis County, 4:05CV01455 JCH, 2010 WL 2025333 (E.D.

         Mo. May 19, 2010) aff’d sub nom. Betton v. St. Louis County, Mo., 405 Fed.

         Appx. 101 (8th Cir. 2010), the court found rates of $400 and $450 to be

         reasonable.

      • In White v. McKinley, 05-0203-CV-W-NKL, 2009 WL 813372 (W.D. Mo.

         Mar. 26, 2009), rates of $250 per hour, $395 per hour and $450 per hour

         were identified as reasonable. Id. at *7.

                   4. The Laffey Matrixes and Locality Pay Rates

         The vast majority of cases involving claims under 42 U.S.C. 1988 are

 against state and local officials and governmental entities. One of the ways in

 which this case is rare is that it involves a claim for fees and expenses under

 § 1988 against the federal government. Accordingly, it may be appropriate for the

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 Court in this case to consider what are known as the Laffey Matrixes, which are

 commonly used to determine attorney fees in cases against the federal government.

 There are two Laffey Matrixes: one prepared by the U.S. Attorney’s office for the

 District of Columbia, the other being the LSI-Adjusted3 Laffey Matrix, which is

 not prepared by the government.

                             a. The United States Attorney’s Office’s Laffey Matrix

               One oft-used version of the Laffey Matrix is “prepared by the Civil Division

 of the United States Attorney’s Office for the District of Columbia to be used in

 cases in which a fee-shifting statute permits the prevailing party to recover

 reasonable attorneys’ fees.” U.S. ex rel. Peterson v. Sanborn Map Co., Inc.,

 4:11CV000902 AGF, 2014 WL 2815592, at *2 (E.D. Mo. June 23, 2014); Dunkin

 Donuts Franchising LLC v. Sai Food Hospitality, LLC, 4:11CV01484 AGF, 2014

 WL 2009106, at *5 (E.D. Mo. May 16, 2014); White v. McKinley, 05-0203-CV-W-

 NKL, 2009 WL 813372, at *7 (W.D. Mo. Mar. 26, 2009) (allowing attorney rates

 between $250 and $450 per hour). A current version of the USAO’s Laffey Matrix

 is attached as Exhibit 5.4

               The rate provided by the Justice Department for the most experienced

 attorneys, those who have 31 or more years of experience, is $568 per hour for the
 																																																													
 3
     “LSI” stands for “Legal Services Index.”
 4
  This version was obtained from the Justice Department’s website. See
 https://www.justice.gov/usao-dc/file/796471/download (last visited Oct. 18, 2017).

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 years 2015-16 and $581 per hour for the years 2016-17. Tim Belz and Carl Esbeck

 have been attorneys for roughly 40 years each. For attorneys with 8-10 years of

 experience—Matt Belz has nine—the Justice Department provides a rate of $386

 per hour for the years 2015-16 and $395 per hour for the years 2016-17.

               Those numbers are admittedly tailored for the Washington, D.C. and

 Baltimore market. Courts in non-Washington jurisdictions have used government-

 provided locality pay differential numbers to make adjustments. This appears to be

 the approach used in the Western District of Missouri. White, a 2009 case, at *7

 (“Even adjusting for locality, the matrix would dictate a rate of $426 per hour for

 Mr. Kanovitz and Jon Loevy . . .”).

               The Washington, D.C. area has a locality pay rate of 24.78%. Executive

 Order 13715 (Schedule 9).5 The St. Louis area has a locality pay rate of 14.49%.

 Id. Courts simply subtract the lower rate to determine the reduction, which here

 would lead to a 10.29% reduction from the Washington, D.C. rates. IMS Health

 Corp. v. Schneider, 901 F. Supp. 2d 172, 196 n.17 (D. Me. 2012). This results in a

 $509.55 rate for St. Louis attorneys such as Tim Belz and Carl Esbeck who have

 31 or more years of experience using the 2015-16 USAO Laffey figure, and

 $521.22 using the 2016-17 figure. For Matt Belz, who has nine years of
 																																																													
 5
  Executive Order 13715, “Adjustments of Certain Rates of Pay,” available at
 https://www.opm.gov/policy-data-oversight/pay-leave/salaries-wages/pay-
 executive-order-2016-adjustments-of-certain-rates-of-pay.pdf (last visited Oct. 31,
 2017).
 	                                                                          19


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 experience, the USAO’s Laffey Matrix rate, adjusted to St. Louis, is $346.28 per

 hour using the 2015-16 figure and $354.35 using the 2016-17 figure.

                          b. The LSI-Adjusted Laffey Matrix

         There is a separate version of the Laffey Matrix, not prepared by the

 government, which contains higher rates (the “LSI-Adjusted Laffey Matrix”). See

 http://laffeymatrix.com/see.html (last visited October 18, 2017), cited in Newport

 News Shipbuilding & Dry Dock Co. v. Holiday, 591 F.3d 219, 229 n.11 (4th Cir.

 2009); Eckermann v. Colvin, 4:13-CV-04002-SLD, 2014 WL 4899624, at *2 (C.D.

 Ill. Sept. 29, 2014); Howe v. City of Akron, 17 F. Supp. 3d 690, 693 n.6 (N.D. Ohio

 Apr. 8, 2014).

         However the Laffey Matrix is applied, and whichever one is applied, it

 supports considerably higher rates than those requested by the Movants’ attorneys

 even when adjusted for locality.

                               5. Attorney Qualifications

         Tim Belz graduated Order of the Coif from the University of Iowa College

 of Law in 1976 and has specialized in litigation since spending his first five years

 in the Antitrust Division of the U.S. Department of Justice. See Timothy Belz

 Declaration and Curriculum Vitae, Exhibit 6. His focus has been on constitutional

 law cases with a particular emphasis on religious liberty cases. Id. (see

 representative cases).


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         Carl Esbeck graduated from Cornell University School of Law in 1974.

 After clerking for a year, he was an associate and then partner at a firm where he

 focused on civil rights and commercial litigation cases. See Esbeck Declaration

 and Curriculum Vitae, Exhibit 7. He joined the faculty of the University of

 Missouri School of Law in 1981 and has since been published widely in the area of

 constitutional law and religious liberty. Id. Now the R.B. Price Professor and

 Isabelle Wade & Paul C. Lyda Professor of Law emeritus, he has taught classes on

 Constitutional Law, Religious Liberty, Civil Rights, and a Seminar on the

 Foundations of the American Constitution. Id.

         Matt Belz, who became a partner at Ottsen, Leggat & Belz, L.C. in late

 2015, was before that an associate at the firm since graduating from the University

 of Missouri School of Law in 2008. See Matthew Belz Declaration, Exhibit 8. His

 primary focus has been litigation and he has worked on many § 1983 cases,

 including authoring dozens of major briefs. He was recently lead counsel in

 another civil rights case, Powell v. St. Francois County, 4:14-cv-01230 AGF (E.D.

 Mo.). Id.

                               6. Supporting Declarations

         The reasonableness of the requested rates is further demonstrated by the

 declarations of attorneys Al W. Johnson and Mark (Thor) Hearne II, who attest that

 the rates requested are within, and indeed lower than, market norms, based on the


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 requesting attorneys’ skill and experience. See Declaration of Al W. Johnson

 (Exhibit 9) and Mark Hearne (Exhibit 10).

                                 II. Lodestar Calculation

         A reasonable fee can be set in this case consistent with established case law

 and local rates and practices by multiplying the number of compensable hours by

 the hourly rates of Movants’ attorneys as follows:

         Attorney              Rate         Hours      Total
         Tim Belz              $450         625.5      $281,475
         Carl Esbeck           $450          71.8        32,310
         Matt Belz             $250         377.3        94,325
                                                       $408,110

                                      III. Expenses

         Movants are entitled to recover the expenses incurred in the prosecution of

 this case. Recoverable expenses include costs and out-of-pocket expenses of

 Movants’ attorneys. Neufeld v. Searle Laboratories, 884 F.2d 335, 342 (8th Cir.

 1989); see also Pinkham v. Camex, Inc., 84 F.3d 292, 294-95 (8th Cir. 1996) (a

 reasonable attorney fee must include “reasonable out-of-pocket expenses of the

 kind normally charged to clients by attorneys.”).

         Movants seek only their printing costs for two briefs filed before the

 Supreme Court. The first was their amicus brief filed in Zubik v. Burwell, Nos. 14-

 1418, 14-1453, 14-1505, 15-35, 15-105, 15-119 and 15-191 (Sup. Ct.) on January

 8, 2016. Exhibit 4. The printing costs from Cockle Legal Briefs were $1,011.66.


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 The second was Movants’ January 28, 2016 response brief to the government’s

 petition for writ of certiorari filed in Dept. of Health and Human Services v. CNS

 Int’l Ministries, 15-775 (Sup. Ct). Exhibit 3. The printing costs for that brief from

 Becker Gallagher were $742.06. The total in expenses sought by Movants is

 $1,753.72.

         Movants’ attorneys do not seek reimbursement for any mileage or the

 considerable amount of Pacer or Westlaw usage required by this case.

                                   CONCLUSION

         For the foregoing reasons, Movants respectfully request that this Court

 award attorney fees of $408,110 and out-of-pocket expenses of $1,753.72.

         Respectfully submitted this 6th day of November 2017.

                                          OTTSEN, LEGGAT AND BELZ, L.C.


                                     By: /s/ Timothy Belz
                                         Timothy Belz #MO-31808
                                         J. Matthew Belz #MO-61088
                                         112 South Hanley, Second Floor
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                                          Attorneys for CNS International Ministries,
                                          Inc. and Heartland Christian College




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                         CERTIFICATE OF COMPLIANCE

         I hereby certify that the textual portion of the foregoing motion (exclusive of

 the tables of contents and authorities, certificates of service and compliance, but

 including footnotes) contains 5,093 words as determined by the word counting

 feature of Microsoft Word 2011.


                                                 /s/ Timothy Belz



                            CERTIFICATE OF SERVICE

         I hereby certify that on November 6, 2017, I caused a true and correct copy

 of this filing to be served on counsel by means of the Court’s ECF system.


                                                 /s/ Timothy Belz
                                                 Timothy Belz




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                                              112	South	Hanley,	Suite	200
                                               St.	Louis,	MO	63105-3418
                                           Ph	:	(314)	726-2800,	Fax	:	314-863-3821
                                         Time,	Expense	&	Notes	Report
Date     By    Description	:                                                                                          Hours:
07/09/12 	JB   Research	re:	O'Brien	and	Archdioceses	cases;	compare	O'Brien	petitions                                 1.00
07/01/13 	TB   Review	Final	Rule	for	religious	nonprofits	and	research	regarding	religious	nonprofit	cases            3.80
07/05/13 	TB   Further	review	of	Final	Rule	for	religious	nonprofits	and	research	regarding	religious	nonprofit	cases 4.80
07/06/13 	TB   Research	complaints	that	were	filed	on	behalf	of	religious	nonprofits;	preparation	of	amended	         3.90
               complaint
07/08/13 	TB   Research	regarding	religious	nonprofit	status	given	passage	of	Final	rule;	work	on	amendment	of	       5.60
               pleadings;	two	telephone	conferences	with	David	Melton,	General	Counsel	for	nonprofits
08/28/13 	JB   Research	re:	religious	employers/churches	and	the	contraceptive	mandate;	check	status	of	Willis	Bros.	 1.00
               case	in	D.C.
10/28/13 	TB   Communications	with	various	attorneys	regarding	status	of	nonprofit	religious	cases	across	country;	   4.40
               review	same
10/29/13 	TB   Review	research	and	perform	new	research	regarding	"accommodation"	cases	extant	across	country         3.80
10/30/13 	JB   Work	on	amended	complaint;	research	re:	temporary	enforcement	safe	harbor	and	religious	               4.20
               accommodation
10/31/13 	JB   Work	on	amended	complaint                                                                              3.20
11/02/13 	TB   Research	latest	on	"accommodation,"	etc.,	for	religious	nonprofits                                     3.20
11/05/13 	JB   Draft	motion	for	joinder;	research	re:	joinder;	research	re:	amendment	to	complaint                    2.80
11/06/13 	JB   Work	on	memo	in	support	of	motion	for	joinder;	related	research                                        5.20
11/07/13 	TB   Review	and	revise	motion,	brief,	and	second	amended	complaint;	research	regarding	arguments	against	 5.80
               the	proposed	"accommodation"
11/07/13 	JB   Revise	motion	and	memo	re:	joinder	of	CNSIMI	and	HCC                                                   0.50
11/08/13 	JB   Revise	second	amended	complaint                                                                        1.50
11/14/13 	JB   Revise	complaint	and	other	amendment	docs                                                              1.50
11/14/13 	TB   Communications	with	David	Melton;	review	and	revise	second	amended	complaint                           2.40
11/19/13 	TB   Review	and	revise	second	amended	complaint;	motion	to	file	and	bring	in	two	more	plaintiffs;	          2.50
               memorandum	in	support
11/19/13 	JB   Finalize	second	amended	documents;	file	all                                                            1.00
11/21/13 	TB   Research;	review	opinion	re:	nonprofits	from	Western	District	of	Pennsylvania                          1.50
11/22/13 	JB   Review	Zubik	opinion	and	briefing                                                                      2.50
11/27/13 	JB   Work	on	preliminary	injunction	brief;	related	research                                                 6.20
12/02/13 	JB   Work	on	preliminary	injunction	brief                                                                   6.50
12/03/13 	JB   Work	on	preliminary	injunction	brief                                                                   6.60
12/04/13 	JB   Work	on	preliminary	injunction	brief;	review	Little	Sisters	of	the	Poor	briefs	and	incorporate         6.50
12/05/13 	TB   Review	and	revise	draft	of	40-page	brief	in	support	of	motion	for	TRO	and	preliminary	injunction;	     5.80
               research	regarding	same
12/06/13 	TB   Review	and	revise	brief	in	support	of	TRO	and	preliminary	injunction;	research	same                    3.80
12/07/13 	JB   Work	on	preliminary	injunction	memo                                                                    3.20
12/07/13 	TB   Research;	review	and	revise	brief	in	support	of	TRO	and	PI                                             3.60
12/08/13 	JB   Draft	Sharpe	declaration;	draft	Melton	declaration;	revise	brief                                       4.00
12/08/13 	TB   Research	regarding	contraceptive	accommodation	and	the	regulations	that	created	it;	amend	motion	for	 5.00
               TRO	and	PI	accordingly;	review	and	revise	brief	in	support
12/09/13 	JB   Research	re:	small	employers	and	ACA	fines;	review	Annex	Medical	pleadings;	draft	motion	to	file	      1.50
               overlength	brief
12/09/13 	TB   Review	and	revise	brief	in	support	of	TRO	and	PI;	review	and	revise	declarations	in	consultation	with	 2.50
               Melton
12/10/13 	JB   Revise	brief;	revise	declarations                                                                      6.50



                                                                                                                Exhibit	1


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12/10/13 	TB   Review	and	revise	motion	for	TRO	and	PI;	supporting	brief;	declarations	for	David	Melton	and	Charles	 4.50
               Sharpe
12/11/13 	JB   Review/revise	all	documents;	file	all                                                                       3.80
12/11/13 	TB   Back	and	forth	with	declarants	regarding	declarations;	review	and	revise	brief	for	TRO	and	PI;	prepare	 6.00
               for	final
12/16/13 	TB   Review	regulations	for	avenues	of	relief	for	CNSIMI	and	Heartland	Christian	College;	emails	with	DOJ	       2.40
               attorney	back	and	forth;	telephone	conferences	with	Dave	Melton;	research	regulations
12/17/13 	JB   File	notice	of	substitution;	file	joint	notice	of	parties                                                   0.40
12/17/13 	TB   Several	telephone	conferences	with	Kelly	in	clerk's	office	regarding	substitution	of	party	defendants	and	 3.70
               addition	of	new	plaintiffs;	file	consents	to	Magistrate	by	new	plaintiffs;	meet	with	clerk;	file	notice	of	
               substitution	of	Secretary	Perez	at	Dept.	of	Labor;	email	with	opposing	counsel;	prepare	joint	
               memorandum	draft	and	send	to	opposing	counsel
12/18/13 	JB   Review	government	response	brief;	related	research                                                          5.20
12/18/13 	TB   Review	35-page	response	brief	from	Defendants	in	opposition	to	our	motions	for	TRO	and	preliminary	 2.10
               injunction
12/19/13 	JB   Begin	reply	brief;	review	new	accommodation	cases                                                           6.50
12/20/13 	JB   Work	on	reply	brief;	review	new	accommodation	decisions                                                     5.50
12/21/13 	TB   Research;	review	and	revise	Reply	Brief	responding	to	Gov't	brief	in	opposition	to	our	motion	for	TRO	      4.30
               and	PI
12/22/13 	JB   Work	on	reply	brief                                                                                         6.30
12/22/13 	TB   Research	issues	for	Reply	Brief,	including		penalties	for	non-compliance	with	contraceptive	mandate         2.10
12/23/13 	TB   Research	new	cases	being	decided	on	daily	basis;	review	filings	by	DOJ;	review	and	revise	reply	brief       5.50
12/24/13 	JB   Meeting	with	J.	Sauer	and	T.	Belz                                                                           1.00
12/24/13 	TB   Confer	with	Matt	Belz	and	John	Sauer	regarding	Notre	Dame	case	and	others;	discuss	strategy;	research	 7.50
               all	nine	nonprofit	cases	decided	to	date;	review	and	revise	reply	brief
12/25/13 	JB   Review,	revise	and	finalize	reply	brief;	file	same                                                          4.00
12/25/13 	TB   Review	and	revise	reply	brief;	research	recent	cases;	review	for	final                                      9.00
12/26/13 	TB   Review	Catholic	Diocese	of	Nashville	case                                                                   0.80
12/27/13 	TB   Review	East	Texas	Baptist	University	case;	pinpoint	pages	to	bring	to	judge's	attention;	file	supplemental	 1.10
               authority	notice
12/27/13 	JB   Draft	and	file	ETBU	supplement                                                                              0.50
03/25/14 	TB   Research	and	communications	with	attorneys	in	similar	situations;	telephone	conferences	with	Dave	          2.50
               Melton;	review	Supreme	Court	argument
03/26/14 	TB   Research;	review	Supreme	Court	proceedings;	communications	regarding	nonprofit	strategies	with	co- 2.10
               counsel	and	other	attorneys
03/28/14 	TB   Review	transcript	of	Supreme	Court	argument	in	preparation	for	briefing	in	CNSIMI	case;	discuss	with	 2.70
               similarly-situated	attorneys;	focus	on	accommodation	issues	
05/20/14 	TB   Telephone	conference	with	local	ACLU	attorney	regarding	amicus	brief	filing                                 0.30
05/21/14 	TB   Review	Dordt	College	and	Cornerstone	cases,	which	cited	Sharpe	Holdings,	in	favor	of	plaintiffs;	discuss	 3.60
               results	with	counsel	for	plaintiffs;	review	DOJ	opening	appeal	brief	in	Heartland	(Sharpe	Holdings)	case	
05/22/14 	TB   Review	DOJ	opening	brief;	research	legal	questions;	communicate	with	DOJ	and	various	amici	regarding	 3.40
               consents;	communicate	with	counsel	on	same	side	of	issue	as	we	are;	communicate	with	co-counsel;	
               communicate	with	Melton
05/23/14 	TB   Communications	with	government	and	with	lawyers	wishing	to	file	amici	briefs	pro	and	con;	research	         2.60
               legal	issues	raised	in	DOJ	brief
05/27/14 	TB   Review	government	opening	brief	in	8th	Circuit;	research	regarding	same;	communications	with	               5.50
               similarly	situated	counsel	regarding	arguments	under	RFRA;	emails	back	and	forth	with	group	wanting	to	
               file	amicus	on	behalf	of	government;	emails	with	co-counsel	Carl	Esbeck,	con	law	professor	at	Missouri	
               Law	School;	telephone	conference	with	Dave	Melton,	corporate	counsel	for	CNS	Int'l	Ministries	and	
               other	Sharpe	Holdings	plaintiffs;	further	research
05/28/14 	JB   Review	Government	brief	in	accommodation	case                                                               3.00
05/29/14 	JB   Review	Government	cases;	review	Notre	Dame	decisions;	review	notes	from	Esbeck;	related	research. 4.50




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05/29/14 	TB   Research	and	prepare	responses	to	Judge	Posner	arguments	used	by	Government	in	its	brief;	review	          5.50
               ACLU	et	al.	amicus	brief;	review	amicus	brief	from	Paul	Weiss	law	firm
05/30/14 	JB   Research	accommodation	cases	and	current	scorecard                                                         5.50
05/30/14 	TB   Telephone	conferences	with	Dave	Melton;	office	conferences	with	Matt	Belz;	all	regarding	disposing	of	 5.00
               arguments	made	by	the	Government	in	its	brief	on	appeal;	research	regarding	and	multiple	
               communications	with	other	counsel	regarding	the	unique	circumstances	of	being	self-insured	and	
               dealing	with	third	party	administrators	as	opposed	to	outside	insurance	companies
06/02/14 	JB   Begin	draft	of	brief                                                                                       5.00
06/02/14 	TB   Emails	regarding	responses	to	briefs	of	amici	on	side	of	Government;	emails	with	co-counsel	regarding	 3.50
               amici	on	our	side;	research	issues	raised	by	Government	and	its	amici
06/03/14 	JB   Work	on	brief                                                                                              4.50
06/03/14 	TB   Review	competing	standards	for	preliminary	injunctions	as	between	Heartland	case	(2003)	and	Planned	 3.90
               Parenthood	case	(2008);	discuss	with	counsel;	research	8th	circuit	cases	regarding	same	("fair	chance"	v.	
               "likelihood")
06/04/14 	JB   Work	on	brief;	research	federal	registry	re:	accommodation	and	TPAs.                                       5.50
06/04/14 	TB   Research	issues	surrounding	Notre	Dame	decision	in	7th	Circuit	and	compare	to	arguments	CNSIMI	has	 3.60
               made;	communications	with	counsel	in	similar	cases
06/05/14 	JB   Work	on	brief;	review	briefs	and	pleadings	from	Becket	Fund	and	Government	in	Guiding	Souls	case.          5.00
06/05/14 	TB   Research	cases	recently	decided	that	discuss	Notre	Dame	and	other	relevant	decisions;	discuss	with	co- 5.10
               counsel
06/06/14 	JB   Work	on	brief;	draft	and	file	motion	for	additional	time                                                   5.20
06/06/14 	TB   Research	legal	issues	raised	by	Government	and	its	amici;	preparation	of	appellees'	main	brief             3.30
06/09/14 	JB   Work	on	brief;	research	re:	other	accommodation	cases	and	briefs                                           4.20
06/10/14 	JB   Work	on	brief                                                                                              3.50
06/12/14 	JB   Work	on	brief;	review	Sixth	and	Seventh	Circuit	decisions                                                  5.00
06/19/14 	TB   Review	analysis	by	Carl	Esbeck;	email	to	him	and	Matt;	review	6th	Cir.	opinion                             1.00
06/20/14 	TB   Telephone	conferences	and	emails	with	counsel	regarding	content	of	brief                                   1.00
06/30/14 	TB   Review	Hobby	Lobby	decision;	telephone	conferences	with	Dave	Melton,	Sam	Lee,	Carl	Esbeck;	emails	 7.40
               with	them	and	similarly-situated	counsel;	strategize	as	to	how	to	proceed	in	Heartland	(CNS	Int'l	
               Ministries)	religious	nonprofit	case;	review	Hobby	Lobby	Supreme	Court	decision	in	detail
07/01/14 	TB   Telephone	conference	with	Carl	Esbeck	regarding	strategies	for	proceeding	with	brief	in	8th	Circuit	and	 0.80
               what	to	argue	in	light	of	Hobby	Lobby
07/02/14 	JB   Review	Hobby	Lobby	decision;	research	recent	nonprofit	decisions;	work	on	brief                            5.50
07/02/14 	TB   Telephone	conference	with	Dave	Melton;	telephone	conference	with	Matt	Belz;	all	re:	appellee	brief	in	 1.00
               8th	Circuit
07/03/14 	JB   Work	on	brief                                                                                              4.80
07/03/14 	TB   Research	regarding	government's	accommodation	for	religious	nonprofits;	research	regarding	required	 5.50
               certification	by	government;	preparation	of	appellee	brief	in	8th	circuit
07/04/14 	TB   Thorough	review	of	Government's	appellant's	brief,	in	view	of	the	recent	Hobby	Lobby	case	and	             6.90
               yesterday's	Wheaton	College	order;	preparation	of	appellee's	brief
07/05/14 	TB   Research	for	appellee's	brief,	especially	regarding	ERISA	requirements;	preparation	of	appellee's	brief    5.00
07/06/14 	JB   Work	on	brief;	related	research                                                                            2.00
07/06/14 	TB   Research	legal	and	factual	issues;	preparation	of	appellee	brief	for	8th	Circuit                           7.50
07/07/14 	JB   Work	on	brief                                                                                              4.00
07/07/14 	TB   Telephone	conference	with	Dave	Melton;	telephone	conference	with	Carl	Esbeck;	phone	conference	            6.50
               with	Charles	Sharpe;	research	legal	issues	in	view	of	Hobby	Lobby	decision;	prepare	appellee's	brief
07/08/14 	TB   Research	for	and	review	and	revise	appellee	brief	in	8th	Circuit                                           8.50
07/09/14 	JB   Work	on	brief;	related	research                                                                            4.00
07/09/14 	TB   Prepare,	review	and	revise	appellee	brief	in	8th	Circuit                                                   7.80
07/10/14 	JB   Work	on	brief;	research	re:	nonprofit	cases                                                                4.50
07/11/14 	TB   Review	and	revise	appellee	brief	for	8th	Circuit;	research	regarding	same                                  8.00
07/12/14 	TB   Research	and	review	and	revise	appellee	brief	for	8th	Circuit                                              5.50
07/14/14 	TB   Research	ERISA	arguments	and	discuss	with	Melton                                                           1.60




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07/15/14 	JB   Meeting	with	T.	Belz	re:	revisions;	work	on	brief/research                                                    5.00
07/15/14 	TB   Review	and	revise	using	Esbeck	edits;	confer	with	Matt	Belz                                                   2.00
07/16/14 	TB   Research	regarding	ERISA	requirements	as	applied	to	contraceptive	mandate;	telephone	conference	              1.40
               with	Dave	Melton	and	Matt	Belz	to	go	over	Melton's	changes	in	appellee	brief	in	8th	Circuit;	telephone	
               call	with	Melton	regarding	ERISA	findings
07/20/14 	JB   Work	on	brief;	related	research                                                                               4.00
07/20/14 	TB   Review	and	revise	appellee	brief	in	8th	Circuit;	discuss	changes	with	Matt	Belz                               5.50
07/21/14 	JB   Work	on	brief,	including	tables	and	addendum;	file	all                                                        4.00
07/21/14 	TB   Review	and	revise	appellee	brief	in	8th	Circuit;	prepare	for	final;	cite	checks;	proofread;	make	changes 7.50
07/22/14 	TB   Telephone	call	from	clerk	at	8th	Circuit	regarding	fact	that	only	two	of	several	plaintiffs	are	appellees;	 2.80
               tried	to	clear	up	her	confusion;	she	said	she	would	take	it	up	with	the	clerk;	review	and	revise	certificate	
               of	service	and	communicate	with	printer;	prepare	for	printer	and	send	instructions	regarding	printing	
               paper	copies	of	briefs;	communicate	with	co-counsel;	review	of	supplemental	briefs	filed	in	the	10th	
               Circuit	Court	of	Appeals	today
07/23/14 	TB   Communications	with	attorneys	similarly	situated	regarding	next	move	by	DOJ	on	religious	nonprofit	           2.50
               "accommodation"	changes	as	promised	by	DOJ;	research	regarding	same;	communications	with	DOJ	
               attorneys	regarding	their	request	for	extra	time	to	reply,	telling	them	we	would	not	oppose
07/24/14 	TB   Review	appellee	brief	paper	versions	back	from	printer	and	file	same                                          1.00
08/14/14 	JB   Research	re:	Section	1988	and	recovery	of	fees;	review	statuses	of	several	related	cases                      3.00
08/14/14 	JB   Correspondence	with	Justice	Department                                                                        0.20
08/18/14 	TB   Telephone	conference	with	Patrick	Nemeroff	at	USDOJ	regarding	his	request	for	changes	in	briefing	            2.20
               schedule	due	to	new	IFR	issuing	later	this	week	from	Government;	telephone	conference	with	Dave	
               Melton	regarding	same;	telephone	call	to	Nemeroff;	review	draft	of	joint	motion	proposed	by	DOJ;	send	
               to	co-counsel
08/19/14 	TB   Email	with	DOJ;	review	email	from	client;	confer	with	client;	edit	and	return	proposed	joint	motion	          1.50
               prepared	by	USDOJ
08/20/14 	TB   Telephone	conference	with	USDOJ	attorney	regarding	briefing	schedule	given	new	IFR	coming	out;	               1.90
               review	file;	review	Marty	Lederman	blog	regarding	same;	confer	with	Carl	Esbeck	regarding	same;	
               research	regarding	responses	of	similarly	situated	religious	nonprofits	in	10th	Circuit;	confer	with	co-
               counsel
08/24/14 	TB   Research	new	IFR	from	government;	compare	to	Hobby	Lobby	and	discuss,	over	last	three	days,	our	              4.50
               options	with	counsel	similarly	situated
08/28/14 	TB   Confer	with	counsel	in	cases	similarly	situated,	including	counsel	for	Dordt	College,	about	strategies        1.80
09/08/14 	TB   Telephone	conference	with	Patrick	Nemeroff	of	USDOJ	Appellate	Staff,	regarding	scheduling	of	post-new	 0.30
               accommodation	briefing;	review	file
09/15/14 	TB   Communications,	including	email	and	telephonic,	with	USDOJ	regarding	briefing	at	8th	Circuit	level;	          1.70
               telephone	conference	with	Dave	Melton	regarding	same;	communication	with	Greg	Baylor,	representing	
               Dordt	College	regarding	same
09/17/14 	TB   Back	and	forth	with	USDOJ	regarding	joint	motion	at	USDOJ's	request	to	change	briefing	schedule	before	 2.90
               the	8th	Circuit;	confer	with	client	and	co-counsel;	review	file	and	research	legal	issues
10/21/14 	JB   Review	Dordt	college	brief	from	Government;	review	cases	and	pleadings	in	case                                3.00
10/21/14 	TB   Research	regarding	8th	Circuit	brief                                                                          3.20
10/22/14 	JB   Review	augmented	accommodation;	reivew	Dordt	College	brief;	review	Little	Sisters	briefing                    5.00
10/22/14 	TB   Research	for	and	preparation	of	8th	Circuit	appellee	brief;	communications	with	counsel	for	Dordt	            3.20
               College	to	coordinate	arguments
10/23/14 	JB   Work	on	response	to	supplemental	brief;	review	Priests	for	Life	briefing                                      5.00
10/24/14 	JB   Work	on	response	to	supplemental	brief;	review	declarations	in	our	case	and	others;	review	Hobby	             4.00
               Lobby	and	Wheaton	College	and	subsequent	decisions;	review	Guidestone	briefing
10/26/14 	JB   Work	on	response	to	supplemental	brief;	review	correspondence	with	G.	Baylor                                  2.00
10/26/14 	TB   Research	legal	issues	in	8th	Circuit	brief	filed	by	government	in	Dordt	College,	to	which	we	must	respond	 2.60
               in	supplemental	brief;	emails	with	Greg	Baylor	regarding	same
10/27/14 	JB   Work	on	supplemental	brief;	related	research                                                                  5.00




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10/28/14 	JB   Work	on	supplemental	brief;	correspondence	with	clerk	re:	technical	requirements	for	brief;	review	         4.80
               FRAP	and	local	rules	re:	supp.	briefs
10/28/14 	TB   Review	and	revise	supplemental	brief	in	8th	Circuit                                                         5.80
10/29/14 	JB   Revisions	to	supplemental	brief;	review	Archdiocese	of	STL	and	Ave	Maria	cases	and	opinions                 4.50
10/29/14 	TB   Review	and	revise	supplemental	brief	for	the	Eighth	Circuit                                                 2.40
10/30/14 	TB   Review	and	revise	draft	of	supplemental	8th	Circuit	brief;	telephone	conference	with	Dave	Melton	           3.20
               regarding	same;	emails	with	Greg	Baylor;	confer	with	Matt	Belz
11/03/14 	JB   Review	correspondence	with	T.	Belz	and	G.	Baylor;	revisions	to	brief;	work	on	tables;	finalize	brief	and	 7.00
               file
11/03/14 	TB   Review	and	revise	several	consecutive,	serial	drafts	of	30-page	supplemental	brief	in	8th	Circuit;	emails	 10.50
               with	counsel	in	similar	8th	Circuit	case;	confer	with	Matt	Belz	regarding	same;	review	and	revise
11/07/14 	TB   Review	scheduling	by	8th	Circuit	and	confer	with	Greg	Baylor	regarding	same;	confer	with	Dave	Melton	 0.50
               and	associate	about	same;	emails	notifying	client	and	others
11/17/14 	TB   Research	regarding	upcoming	arguments	in	8th	Circuit;	extensive	email	exchanges	with	similarly	situated	 2.90
               counsel	regarding	likely	questions	from	the	bench;	review	reply	brief	filed	by	government
11/18/14 	TB   Review	reply	brief	in	8th	Circuit	case	from	government;	research	cited	law                                  4.50
11/20/14 	JB   Review	government	reply	brief	and	begin	review	of	new	accommodation	decisions                               4.00
11/20/14 	TB   Review	reply	brief	of	government;	research	positions	presented	in	same                                      2.30
12/01/14 	JB   Research	re:	Southern	Nazarene	and	Geneva	College	pleadings;	research	CMS	and	CCIIO	releases	and	           4.00
               guidelines	and	regs
12/02/14 	JB   Review	Priests	for	Life	opinion	and	cited	cases;	correspondence	from	Esbeck                                 3.00
12/03/14 	JB   File	oral	argument	response	form;	research	re:	accommodation	cases;	listen	to	seventh	circuit	oral	         4.00
               argument	and	research	cases;	notes	and	memo	re:	oral	argument
12/03/14 	TB   Prepare	for	oral	argument;	communications	with	Greg	Baylor,	attorney	making	arguments	in	other	cases	 4.20
               and	arguing	case	immediately	after	ours;	emails	with	attorneys	similarly	situated;	research	recent	rulings	
               regarding	attenuations,	etc.
12/04/14 	TB   Communication	via	email	and	telephone	with	similarly	situated	attorneys	and	with	David	Melton;	listen	 6.40
               to	oral	arguments	in	other	circuits;	discuss	upcoming	oral	arguments	with	Matt	Belz;	prepare	for	oral	
               argument
12/05/14 	JB   Listen	to	third	circuit	oral	argument	and	research	cited	cases;	draft	notes	and	memo	re:	same;	related	 4.50
               research
12/05/14 	TB   Preparation	of	oral	argument;	telephone	and	email	with	Melton	and	other	similarly	situated	attorneys;	 5.80
               research	recent	opinions;	review	briefs
12/06/14 	TB   Preparation	for	oral	argument;	email	with	other	attorneys	arguing	similar	cases;	research	recent	           5.00
               opinions;	review	briefs;	review	recent	oral	arguments	in	other	circuits
12/07/14 	TB   Preparation	for	oral	argument;	email	with	other	attorneys	arguing	similar	cases;	research	recent	           5.50
               opinions;	review	briefs;	review	recent	oral	arguments	in	other	circuits
12/08/14 	JB   Research	and	review	Priests	for	Life	decision	and	related	28j	letters;	review	Baylor	correspondence;	       5.00
               research	and	memo	re:	least	restrictive	alternatives
12/08/14 	TB   Preparation	for	oral	argument;	emails	with	other	attorneys	similarly	situated;	telephone	conference	        7.50
               with	Dave	Melton;	confer	with	Matt	Belz,	associate
12/09/14 	JB   Moot;	meetings	with	C.	Esbeck	and	G.	Baylor;	research	Wheaton	College	and	Hobby	Lobby;	research	re:	 5.50
               RFRA	and	third	party	rights
12/09/14 	TB   Moot	court	and	prepare	for	oral	argument                                                                    7.00
12/09/14 	TB   Preparation	for	oral	argument;	prepare	opening;	confer	with	Carl	Esbeck	and	Greg	Baylor                     3.70
12/10/14 	JB   Prep	for	oral	argument;	oral	argument                                                                       1.50
12/10/14 	TB   Prepare	for	oral	argument;	oral	argument                                                                    3.50
01/23/15 	JB   Research	re:	Holt	v.	Hobbs	and	28(j)	letters;	work	on	draft	of	28(j)	letter                                 3.50
01/23/15 	TB   Communications	with	similarly	situated	attorneys	regarding	Holt	v.	Hobbs	case;	research	same;	              0.90
               preparation	of	Rule	28(j)	letter	regarding	supplemental	authorities
01/24/15 	TB   Review	Holt	v.	Hobbs	opinion	from	Supreme	Court	and	prepare	suggestions	for	Rule	28(j)	letter	to	Eighth	 1.20
               Circuit
02/03/15 	JB   Check	Dordt	College	pleadings	re:	28(j)	letters                                                             0.20




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02/10/15 	JB   Review	Government	28j	letter	and	Geneva	College	decision;	review	28j	letters	in	other	pending	cases           2.00
02/11/15 	TB   Review	Government's	28(j)	letter	following	their	victory	in	the	3d	Circuit;	review	Geneva	Colege	case;	       1.50
               emails	with	co-counsel
02/12/15 	JB   Review	status	of	10th	Circuit	appeal	and	28j	letters;	revise	28j	response	re:	Geneva	College;	review	         1.50
               Becket	database
02/12/15 	TB   Fly	speck	Geneva	College	opinion	from	the	3d	Circuit,	for	purpose	of	filing	a	Rule	28(j)	letter	responding	 4.90
               to	the	Government's	28(j)	letter;	share	research	with	attorneys	similarly	situated	and	speak	to	client	
               regarding	same;	research	for	and	prepare	Rule	28(j)	response	letter	for	filing	in	the	8th	Circuit
02/13/15 	JB   Revise	28j	response                                                                                           0.50
02/13/15 	TB   Work	with	Matt	Belz,	Dave	Melton,	and	Carl	Esbeck	to	research	3rd	Circuit	opinion	in	Geneva	College	          6.50
               and	write,	review	and	revise	response	to	Government's	Rule	28(j)	letter	regarding	Third	Circuit	Geneva	
               College	decision
03/09/15 	JB   Locate	and	review	Notre	Dame	order;	research	briefing	in	Notre	Dame	case	at	Supreme	Court	level;	             3.00
               research	cases	that	have	relied	on	Notre	Dame	appellate	court	level
03/09/15 	TB   Preparation	of	Rule	28(j)	letter	to	8th	Circuit	clerk	notifying	court	of	GVR	by	Supreme	Court	of	7th	Circuit	 2.50
               Notre	Dame	decision
03/10/15 	JB   Review	and	revise	28(j)	letter;	review	Rienzi	28(j)	letter;	research	Notre	Dame,	Geneva	College	and	          2.50
               Priests	for	Life	cases;	file	28(j)	letter
03/10/15 	TB   Telephone	conference	with	client;	emails	with	client	and	co-counsel	and	other	similarly	situated	             2.10
               attorneys	regarding	Rule	28(j)	letter;	review	and	revise	several	times
03/11/15 	TB   Confer	with	other	attorneys	in	similar	court	of	appeals	cases	regarding	content	of	their	28(j)	letters	and	 0.70
               sharing	ours	regarding	GVR	of	Notre	Dame	case	by	Supreme	Court;	confer	with	Greg	Baylor	and	request	
               that	he	file	28(j)	letter	in	Dordt	College	case,	companion	to	our	case
04/24/15 	TB   Emails	and	telephone	calls	regarding	Supreme	Court	stay	in	Zubik	and	Persico	and	Geneva	College	cases	 1.00
               in	3rd	Circuit;	research	same;	all	over	past	week
04/27/15 	JB   Review	Michigan	Catholic	Conference	decision	and	history;	draft	28(j)	letter                                  2.00
04/27/15 	TB   Review	action	of	the	Supreme	Court	in	Michigan	Catholic	Conf.	v.	Burwell	(6th	Circuit)	in	GVRing	case;	 2.20
               emails	with	other	counsel	similarly	situated;	preparation	of	28(j)	letter	to	8th	Circuit;	email	to	Melton
04/28/15 	JB   Revise	28(j)	letter;	research	similar	letters	in	similar	cases;	file	letter                                   1.00
04/28/15 	TB   Tweak	28j	letter;	communications	with	Esbeck,	Melton	and	others;	review	relevant	portions	of	file             1.90
04/29/15 	TB   Emails	with	counsel	similarly	situated	around	the	country	regarding	our	various	28j	letters	regarding	the	 0.50
               GVRing	of	Michigan	Catholic	Conference	by	the	Supreme	Court
05/27/15 	JB   Review	28(j)	letter	re:	Notre	Dame;	review	Becket	response;	draft	28(j)	letter                                4.00
05/29/15 	JB   Revisions	to	28(j)	letter;	research	re:	government	briefing	in	Notre	Dame                                     0.80
05/29/15 	TB   Review	and	revise	draft	of	our	response	to	Government's	28j	letter	based	on	Seventh	Circuit's	Notre	          1.00
               Dame	II	opinion;	research	same,	referring	to	other	responses	in	other	circuits
06/02/15 	JB   Revisions	to	28(j)	letter;	correspondence	with	G.	Baylor	and	co-counsel;	file	28(j)	letter                    0.60
06/02/15 	TB   Review	and	revise	response	to	Government's	28j	letter	based	on	Notre	Dame	II	from	the	7th	Circuit             0.50
06/30/15 	JB   Review	East	Texas	Baptist	decision	from	5th	Circuit;	review	Govt	28(j)	letter	re:	same;	work	on	response	 2.20
               to	28(j)	letter
06/30/15 	TB   Review	and	revise	response	to	Government's	Rule	28j	letter	based	on	5th	Circuit	case                          1.50
07/01/15 	JB   Revise	Texas	Baptist	28(j)	letter;	file	same                                                                  0.80
07/01/15 	TB   Review	and	revise	response	to	Texas	Baptist	28j	letter	filed	by	Government                                    0.60
07/02/15 	JB   Review	Zubik	stay	and	begin	work	on	28j	citation;	review	status	of	10th	and	11th	circuit	pending	cases. 1.50
07/08/15 	JB   Finish	Zubik	28(j)	draft                                                                                      0.50
07/09/15 	JB   File	Zubik	28(j)	letter                                                                                       0.30
07/09/15 	TB   Research,	review	and	revise	proposed	Zubik	28j	letter	to	8th	Circuit;	email	to	co-counsel	and	counsel	in	 0.70
               related	case
07/14/15 	TB   Review	10th	Circuit	opinion	denying	RFRA	claim	by	religious	nonprofits;	emails	with	co-counsel	               2.00
               regarding	same	and	how	to	respond	to	Government's	28j	letter
07/15/15 	JB   Review	Little	Sisters	decision	in	10th	Circuit;	revise	28(j)	letter                                           1.20




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07/15/15 	TB   Review	Little	Sisters	case	from	10th	Circuit;	discuss	with	Dave	Melton;	preparation	of	response	to	       4.50
               Government's	28j	letter;	distribute	to	co-counsel	and	other	attorneys	similarly	situated	for	comment	
               and	correction
07/16/15 	TB   Review	and	revise	response	to	Government	28j	letter,	inserting	corrections	and	suggestions	from	co-       2.00
               counsel	and	others;	review	Little	Sisters	case	from	10th	Circuit
07/18/15 	TB   Review	Professor	Josh	Blackman's	article	regarding	HHS	lack	of	expertise	to	craft	religious	exemptions;	 2.30
               consider	28j	letter	referencing	Roberts'	opinion	stating	the	same	thing;	further	research	re:	same
08/07/15 	JB   Review	2nd	Circuit	decision;	work	on	28(j)	response                                                       2.00
08/07/15 	TB   Review	Catholic	Health	Care	System	case	decided	by	2d	Circuit;	preparation	of	response	to	government's	 3.50
               28j	letter
08/09/15 	JB   Review	Esbeck	comments	re:	28(j)	response;	revise	28(j)	letter                                            1.50
08/09/15 	TB   Review	and	revision	of	response	to	Government's	28j	letter	based	on	2d	Circuit	opinion                    1.30
08/10/15 	TB   Research	Hobby	Lobby	opinion;	review	and	revise	multiple	drafts	of	response	to	28j	letter	of	             3.80
               Government	citing	2d	Circuit	case
08/24/15 	JB   Review	28(j)	letter	re:	new	6th	Circuit	MCC	decision;	review	MCC	decisions	and	summarize.                 2.00
08/27/15 	JB   Draft	MCC	28(j)	response;	review	Hobby	Lobby                                                              2.00
08/28/15 	TB   Prepare,	review	and	revise	response	to	government's	28j	letter	based	on	Sixth	Circuit	MCC	decision;	      0.90
               email	to	counsel
08/28/15 	JB   Revisions	to	MCC	28(j)	response                                                                           0.50
09/01/15 	JB   Revise	and	file	28(j)	response	re:	MCC                                                                    0.50
09/04/15 	TB   Review	ERISA	brief	by	Martin	Nussbaum	which	was	filed	as	an	amicus	brief	in	Supreme	Court	Little	         2.60
               Sisters	cert	petition	and	focuses	on	ERISA;	emails	to	Matt	Belz	and	Carl	Esbeck	regarding	any	use	to	
               which	it	might	be	put;	review	our	own	main	brief	and	supplemental	brief	in	the	8th	Circuit;	review	Judge	
               Manion's	dissent	in	7th	Circuit	case	to	be	cited	in	response	to	anticipated	28j	letter	from	the	
               government
09/11/15 	JB   Review	Grace	Schools	and	Little	Sisters	rehearing	litigation;	draft	28(j)	response                        4.00
09/13/15 	TB   Research	and	review	and	revise	Little	Sisters	and	Grace	Schools	response	to	government's	28j	letter       2.00
09/14/15 	JB   Revisions	to	28(j)	letter	re:	Grace	Schools;	file	same.                                                   0.50
09/17/15 	TB   Telephone	conference	with	Mark	Rienzi	of	Beckett	Fund	regarding	representation	at	oral	argument	etc.	 0.60
               if	case	should	go	to	Supreme	Court
09/17/15 	TB   Review	positive	opinion	from	the	8th	Circuit	in	Sharpe	Holdings	v.	Burwell,	striking	down	the	so-called	 2.70
               accommodation;	discuss	with	clients	and	co-counsel;	discuss	strategy	with	same
09/30/15 	TB   Telephone	conference	with	Dave	Melton;	telephone	conference	with	Mark	Rienzi,	Paul	Clement	and	           0.80
               others	from	Becket	Fund	regarding	where	things	go	from	here
10/06/15 	TB   Discussions	with	Mark	Rienzi	and	Dave	Melton	regarding	interplay	between	for-profit	and	nonprofit	        2.30
               cases;	review	file;	review	rules	regarding	government	requesting	rehearing	en	banc	in	8th	Circuit	and	
               related	questions,	to	form	strategy	for	proceeding;	extended	conversation	with	client,	Dave	Melton,	
               regarding	beginning	of	plan	year	and	interplay	between	for-profits	and	nonprofits
11/03/15 	TB   Email	to	clients;	discuss	with	Esbeck,	Matt	Belz	and	Dave	Melton	(client)	the	consequences	of	the	        1.20
               government	not	seeking	rehearing	en	banc
11/10/15 	TB   Telephone	conference	with	Carl	Esbeck	regarding	proposed	amicus	brief	in	Supreme	Court;	review	           1.10
               materials	provided	by	Esbeck	regarding	same
11/19/15 	TB   Discussions	with	Esbeck	regarding	filing	amicus	brief;	research	whether	winning	party	can	file	petition	 1.70
               for	certiorari;	review	Supreme	Court	rules	regarding	same;	emails	to	formerSupreme	Court	clerks	
               regarding	same
11/20/15 	TB   Emails	with	Supreme	Court	experts	regarding	petition	for	certiorari;	review	file;	review	Supreme	Court	 0.90
               rules	and	associated	cases
12/02/15 	JB   Conference	call	re:	amicus	briefs                                                                         1.00
12/02/15 	TB   Telephone	conference	with	all	potential	amici	in	Supreme	Court	case	involving	religious	nonprofits	       1.20
               (Zubik	v.	Burwell)	(1.0	hours);	followup	with	Dave	Melton
12/03/15 	TB   Emails	and	telephone	conferences	with	Esbeck	and	then	with	Melton	also	regarding	change	in	               1.00
               circumstance	brought	on	by	LDS	taking	over	brief
12/07/15 	TB   Telephone	conference	with	co-counsel	regarding	amicus	brief;	review	file                                  0.60




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12/28/15 	JB   Research	re:	amicus	briefs	in	Supreme	Court	and	Government	positions	on	least	restrictive	means	           2.80
               throughout	litigation
12/29/15 	JB   Work	on	amicus	brief;	research	federal	register                                                            4.50
12/30/15 	JB   Work	on	amicus	brief;	review	brief	rules;	review	government	documentation	re:	exchanges                    4.00
12/30/15 	TB   Telephone	conference	with	Kim	Colby	of	Christian	Legal	Society	regarding	amicus	brief	strategies	and	      1.50
               questions;	research	regarding	our	amicus	brief	for	Supreme	Court
12/31/15 	JB   Work	on	amicus	brief;	revise	intro                                                                         1.00
12/31/15 	TB   Research	for,	review	and	revise	amicus	brief	for	Supreme	Court	case                                        3.50
01/02/16 	TB   Review	and	revise	amicus	brief	for	Supreme	Court;	research	for	same                                        3.70
01/03/16 	TB   Review	and	revise	amicus	brief	(new	version)                                                               1.80
01/04/16 	JB   Review	Becket	Fund	brief;	work	on	amicus	brief                                                             2.00
01/04/16 	TB   Review	and	revise	amicus	brief	for	Supreme	Court;	review	appeal	briefs	filed	by	religious	claimants	in	    4.70
               Zubik	et	al;	discuss	with	Matt	Belz
01/05/16 	JB   Work	on	amicus	brief;	research	exchanges;	review	Jones	Day	brief                                           1.50
01/05/16 	TB   Review	and	revise	Supreme	Court	amicus	brief;	review	briefs	filed	yesterday	by	petitioners	in	Supreme	 3.60
               Court;	discuss	with	client,	Dave	Melton
01/06/16 	TB   Research	for	and	review	and	revise	amicus	brief	for	Supreme	Court,	filed	on	behalf	of	amici	CNS	Int'l	     7.20
               Ministries	and	Heartland	Christian	College;	confer	with	other	counsel;	confer	with	Dave	Melton	by	email	
               and	telephone;	make	more	revisions
01/06/16 	JB   Final	work	on	brief;	review	Rienzi	comments                                                                4.00
01/07/16 	JB   Work	on	tables	for	amicus	brief;	review	correspondence	with	K.	Colby;	review	T.	Belz	revisions;	review	 1.20
               printer's	changes
01/07/16 	TB   Confer	with	Kim	Colby,	counsel	for	another	amici,	Christian	Legal	Society;	confer	with	Matt	Belz,	co-      5.50
               counsel	on	brief;	confer	with	David	Melton,	client	and	co-counsel;	review	and	revise;	confer	with	
               personnel	at	Cockle	Printing	Company;	proofread	proofs	from	Cockle	Printing	and	discuss	with	M.	Belz	
01/08/16 	JB   Work	on	certain	cites	for	Amicus	brief;	phone	conference	with	printer	re:	revisions                        0.60
01/08/16 	TB   Final	proofreading	of	amicus	brief	for	Supreme	Court	in	Zubik;	discuss	substantial	changes	with	Matt	      3.20
               Belz;	discuss	all	final	changes	with	Trish	Cockle	at	Cockle	Printing
01/12/16 	JB   Correspondence	with	Supreme	Court	Clerk;	draft	letter	for	extension	of	time;	review	rule                   0.50
01/12/16 	TB   Communications	with	Solicitor	General's	office,	Andy	Cockle,	Dave	Melton,	clerk	of	Supreme	Court	and	 2.80
               others	to	get	extension	of	two	weeks	in	which	to	respond	to	Government's	petition	for	writ	of	certiorari;	
               preparation,	review	and	revision	of	same;	research	regarding	how	to	respond	substantively
01/19/16 	JB   Work	on	response	to	petition	for	cert.                                                                     4.00
01/21/16 	JB   Work	on	response	to	cert	petition                                                                          5.00
01/24/16 	TB   Review	Melton	revisions;	research	regarding	brief                                                          3.50
01/25/16 	JB   Incorporate	D.	Melton	revisions;	review	and	revise	brief;	related	research                                 3.00
01/25/16 	TB   Review	and	revise	Brief	in	Opposition	to	Government's	petition	for	writ	of	certiorari;	discuss	with	Matt	 2.50
               Belz;	discuss	with	Dave	Melton;	review	and	revise	again
01/26/16 	JB   Revisions	to	response	to	cert.	petition                                                                    1.00
01/26/16 	TB   Incorporate	Carl	Esbeck	changes	and	suggestions	where	appropriate;	edit	and	re-edit;	confer	with	Matt	 3.50
               Belz	regarding	same
01/27/16 	JB   Revisions	to	response	to	cert.	petition                                                                    1.00
01/27/16 	TB   Review	and	revise	brief	responding	to	Government's	petition	for	writ	of	certiorari;	to	Matt;	back	from	 4.80
               Matt;	review	and	revise	and	send	to	printer;	get	back	from	printer	and	flyspeck	proofs;	check	pagination	
               and	citations;	check	table	of	authorities;	mark	up	and	send	back	to	printer;	email	with	printer;	emails	
               with	Dave	Melton
01/28/16 	TB   Fly	speck	Supreme	Court	brief	one	more	time	and	email	printer	with	three	changes;	back	and	forth	with	 2.70
               printer;	email	client
02/15/16 	TB   Discuss	likely	options	with	attorney	Martin	Nussbaum,	given	death	of	Justice	Scalia;	discuss	with	Dave	 0.70
               Melton
02/23/16 	TB   Confer	with	counsel	in	Washington	DC	regarding	status	of	Zubik	appeal	in	Supreme	Court                     0.60
03/24/16 	TB   Review	Supreme	Court	argument;	communications	with	attorneys	involved	in	same;	emails	with	Melton	 2.30
               and	Esbeck




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03/29/16 	TB   Emails	with	co-counsel	and	others	regarding	SCOTUS	request	for	further	briefing	on	least	restrictive	        2.90
               alternative;	extended	telephone	conversation	with	Woody	Cozad	to	answer	questions	about	Sharpe	
               Holdings	case	asked	by	Senator	Blunt
03/30/16 	TB   Confer	with	Matt	Belz	regarding	SCOTUS	post-argument	order	in	Zubik;	telephone	and	email	with	Esbeck	 3.10
               and	with	Melton	regarding	same;	email	with	Mark	Rienzi	at	Becket	Fund	regarding	same;	research	same;	
               research	Form	700	and	send	to	Melton;	set	up	phone	conference	with	Rienzi;	emails	with	counsel	for	
               other	religious	claimants	in	Zubik	case;	phone	conferences	with	same;	phone	conference	with	Mark	
               Rienzi	at	Becket	Fund	to	share	my	ideas	and	pass	along	Dave	Melton's	ideas
03/31/16 	TB   Emails	with	client	and	co-counsel	and	other	counsel	similarly	situated;	research	issues	connected	with	 3.80
               SCOTUS	post-argument	order	in	Zubik	and	comment	on	same;	telephone	conference	with	Dave	Melton	
               regarding	same;	research	Missouri	solution;	telephone	conference	with	Mark	Rienzi	regarding	same;	
               telephone	conference	with	Sam	Lee	regarding	Missouri	experience;	telephone	conference	with	Adele	
               Keim	at	Becket	Fund	regarding	Missouri;	telephone	call	to	Sam	Lee
04/01/16 	TB   Extended	telephone	conference	with	Ed	Haislmaier	and	his	associate	at	Heritage	Foundation	regarding	 1.10
               how	to	respond	to	Supreme	Court	post-argument	order
04/10/16 	TB   Back	and	forth	with	Becket	Fund	attorneys	et	al	regarding	Missouri	opt	in	and	out	procedure	and	             3.60
               experience;	review	UHC	and	BCBS	Anthem	materials	regarding	same;	review	Missouri	statutes
04/13/16 	TB   Discuss	Little	Sisters	supplemental	brief	for	SCOTUS	with	co-counsel;	discuss	with	David	Melton;	review	 1.90
               Supreme	Court	supplemental	filings	by	Paul	Clement	et	al.	and	by	Government;	emails	with	co-counsel	
               and	client;	review	Missouri	references
04/22/16 	TB   Review	reply	brief	of	Little	Sisters	et	al.	to	Government's	supplemental	brief                               0.90
05/16/16 	TB   Review	per	curiam	decision	in	Zubik;	review	GVR	in	CNS	Int'l	Ministries;	emails	with	clients	and	co-         2.60
               counsel	and	counsel	similarly	situated
05/19/16 	TB   Review	correspondence	from	the	Supreme	Court;	discuss	with	co-counsel;	emails	to	co-counsel	and	             2.40
               clients;	extended	phone	conversation	with	Mark	Rienzi,	counsel	for	Little	Sisters	of	the	Poor
06/22/16 	TB   Review	filing	of	status	report	by	USDOJ;	review	order	of	court	reopening	case	and	send	out	to	interested	 0.90
               persons
06/29/16 	TB   Review	Government	status	report	to	Eighth	Circuit	and	research	underlying	case	regarding	same;	              1.90
               telephone	conferences	with	attorneys	regarding	same
07/21/16 	TB   Review	the	Government's	status	report	to	the	8th	Circuit;	discuss	objectionable	portions	of	it	with	client;	 2.40
               discuss	procedure	with	Yvette	at	clerk's	office;	discuss	with	Supreme	Court	counsel	in	Zubik	case;	discuss	
               further	with	client
07/22/16 	TB   Telephone	conference	with	Dave	Melton;	telephone	conferences	with	Mark	Rienzi	at	Becket	Fund;	               3.30
               research	Zubik	order;	telephone	conference	with	Yvette	at	8th	Circuit	clerk's	office;	prepare	response	to	
               status	report
07/23/16 	TB   Research	file;	confer	with	Esbeck;	confer	with	Matt	Belz;	confer	with	David	Melton;	confer	with	Mark	        3.00
               Rienzi	at	Becket	Fund;	research	cases;	prepare	status	report	for	8th	Circuit
07/24/16 	JB   Review	and	revise	response	to	Government	status	report.                                                      0.30
08/03/16 	TB   Review	sua	sponte	order	from	8th	Circuit	and	email	same	to	co-counsel	and	clients                            0.20
09/13/16 	TB   Preparation	of	comments	to	supply	to	rule-making	apparatus	of	federal	government	regarding	RFI	              3.20
               (Request	for	Information)	that	was	issued	by	federal	government
09/15/16 	TB   Review	requirements	of	Government's	Request	for	Information	and	discuss	strategies	with	counsel	             3.30
               similarly	situated
09/16/16 	JB   Draft	of	response	to	RFI;	research	RFI	responses                                                             3.00
09/16/16 	TB   Research	requirements	for	making	comments	regarding	contraceptive	mandate	when	TPAs	are	involved;	 2.50
               discuss	with	counsel	similarly	situated
09/17/16 	TB   Research	all	briefs	filed	in	Zubik/Little	Sisters	Supreme	Court	case,	including	merits	briefs	and	           2.20
               supplemental	briefs	required	by	SCOTUS	to	see	what	was	said	regarding	self-insured/TPA	situations
09/18/16 	TB   Research	and	then	review	and	revise	comments	responding	to	RFI	of	government;	discuss	with	counsel	 1.90
               similarly	situated
09/19/16 	JB   Revisions	to	RFI	response                                                                                    1.00
09/19/16 	TB   Emails	to	Rienzi	and	also	to	Melton                                                                          0.40
09/20/16 	JB   Revisions	to	RFI	response;	file                                                                              0.80




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10/03/16 	TB   Review	government	status	report;	review	8th	Circuit	order	setting	new	status	report	for	November	30,	 0.40
               2016
10/26/16 	TB   Telephone	conference	with	co-counsel	regarding	strategies	to	proceed	given	Government	delays;	review	 0.50
               file	with	regard	to	same
11/17/16 	TB   Telephone	conference	with	Greg	Baylor,	attorney	for	Dordt	College,	regarding	strategies	moving	forward	 1.40
               given	political	changes,	etc.,	and	status	report	coming	up;	review	file;	telephone	conference	on	Monday,	
               November	14,	with	USDOJ	regarding	same	issues
11/22/16 	TB   Telephone	conference	with	Dave	Melton	for	update	on	case	in	light	of	recent	political	and	legal	            0.90
               developments;	review	file
11/28/16 	JB   Review	Government	status	report;	research	re:	Zubik	and	other	nonprofit	cases;	draft	status	report          3.00
11/30/16 	JB   Correspondence	with	8th	Circuit	re:	filing	of	responsive	status	report                                      0.20
12/01/16 	JB   Multiple	revisions	to	status	report;	file	same.                                                             1.00
12/01/16 	TB   Research	regarding	authority	of	Government	to	control	TPAs	in	self-insured	situations;	prepare,	review	 1.90
               and	revise	status	report	response;	discuss	with	Matt	Belz	and	David	Melton
12/09/16 	TB   Review	order	from	8th	Circuit	judges	regarding	status	report	and	requirement	that	it	should	include	        0.50
               Government	explanation	as	to	how	status	as	self-insured	could	affect	case;	discuss	with	co-counsel
01/25/17 	TB   Telephone	conferences	and	emails	to	co-counsel	and	clients	over	past	week                                   2.20
02/28/17 	JB   Review	government	status	report	and	draft	response.                                                         0.80
03/27/17 	TB   Review	Supreme	Court	order	in	Zubik	and	confer	with	attorneys	for	similarly-situated	clients                1.50
03/29/17 	TB   Review	8th	Circuit	filings;	email	to	Joshua	Salzman	at	USDOJ	regarding	status                               0.30
03/30/17 	TB   Email	with	Mark	Rienzi	at	Becket	Fund	regarding	possibility	of	contacting	HHS	regarding	contraceptive	 0.90
               mandate	enforcement;	telephone	with	Rienzi;	further	email	to	Rienzi
04/25/17 	JB   Conference	call	with	government	attorneys	and	attorney	in	similar	cases                                     0.60
04/25/17 	TB   Telephone	conference	with	Dave	Melton;	many	emails	with	similarly	situated	attorneys	in	Washington,	 3.00
               D.C.	setting	up	meeting	with	Acting	Solicitor	General;	all	in	attempt	to	move	cases	forward	if	not	resolve	
               them;	telephone	conference	with	all	attorneys	similarly	situated	post-Zubik	regarding	strategy	to	take	
               vis-a-vis	meeting	with	Acting	Solicitor	General;	telephone	conference	with	Acting	Solicitor	General	[1.5	
               hours]
04/26/17 	TB   Telephone	conference	and	email	with	client,	David	Melton;	telephone	conference	with	Zubik	attorneys,	 1.30
               including	Paul	Clement	and	others,	regarding	moving	toward	an	agreement	with	the	government
04/27/17 	JB   Research	Zubik	order	and	options	going	forward                                                              0.50
04/27/17 	TB   Review	discussions	of	last	two	days	among	Zubik	attorneys	and	USDOJ,	including	Acting	Solicitor	            0.50
               General;	email	to	Esbeck,	Matt	Belz	and	Melton
04/28/17 	TB   Telephone	conference	with	client	(David	Melton)	regarding	how	to	respond	to	offer	of	Acting	Solicitor	 4.30
               General;	review	status	reports	from	60	days	ago;	review	motions	being	made	in	other	circuits;	emails	
               and	telephone	conferences	with	Becket	Fund	attorneys;	preparation	of	status	report;	further	email	with	
               Becket	Fund	plus	more	research	on	current	status	of	accommodation
04/30/17 	TB   Email	to	Baylor,	Esbeck	and	Melton	regarding	CA8	status	report	due	tomorrow;	further	emails	with	           2.90
               attorney	from	Becket	Fund	(Little	Sisters),	research	for	and	preparation	of	status	memorandum	to	file	
               Monday,	May	1,	tomorrow;	review	status	report	and	motion	filed	by	Becket	Fund	in	the	Fifth	Circuit
05/01/17 	JB   Research	Notre	Dame	case;	review	and	revise	Sharpe	Holdings	status	report;	file	same                        1.00
05/01/17 	TB   Review	status	report	from	Government	due	May	1;	review	and	revise	our	proposed	status	report	and	           1.80
               circulate	and	accept	return	comments	regarding	same;	review	and	revise,	and	then	finalize	our	status	
               report
05/04/17 	TB   Review	emails	regarding	pending	Executive	Order	affecting	case	in	the	8th	Circuit;	respond	to	same;	        0.90
               review	summary	of	proposed	EO;	more	emails
05/30/17 	TB   Emails	with	counsel	in	Washington,	D.C.	regarding	impending	interim	final	rule	at	HHS;	email	to	Melton 0.40
05/31/17 	TB   Review	draft	of	new	Interim	Final	Regulation;	discuss	with	co-counsel;	discuss	with	David	Melton            1.50
06/08/17 	TB   Emails	with	attorneys	representing	other	claimants,	specifically	Becket	Fund	attorneys	in	Washington,	 1.80
               D.C.,	regarding	the	language	of	and	effect	of	new	proposed	IFR;	review	language	of	same;	telephone	
               conference	with	Dave	Melton;	review	proposed	IFR;	email	to	similarly-situated	counsel	in	Washington,	
               D.C.	regarding	proposed	IFR




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06/29/17 	TB   Confer	with	Washington,	DC	attorneys	regarding	status	of	proposed	new	rule	at	HHS	and	effect	on	          0.40
               status	of	this	case
06/30/17 	TB   Emails	with	counsel	for	Dordt	College	and	Cornerstone	University,	similarly	situated	to	Heartland	        2.50
               Christian	College	and	CNS	Ministries,	regarding	how	to	respond	to	government's	request	for	an	
               additional	60	days	for	yet	another	status	report;	review	and	revise	various	drafts	of	responses	to	
               government's	status	report;	prepare	for	final
08/29/17 	TB   Telephone	and	email	discussions	with	attorneys	in	Washington	DC	regarding	settlement	negotiations	        2.90
               with	DOJ;	review	draft	of	settlement;	further	communications	with	attorneys	at	ADF	and	Becket	Fund;	
               review	Government	status	report	filed	in	8th	Circuit
08/30/17 	TB   Review	proposed	settlement	draft	between	DOJ	and	our	side;	email	to	client;	research	what	has	been	 2.90
               said	already	in	Sharpe	Holdings	for-profit	case;	emails	with	Washington	DC	lawyers
09/04/17 	TB   Review	and	revise	proposed	settlement	agreement	and	proposed	judgment	to	be	used	in	nonprofit	            2.40
               accommodation	cases;	redline	suggested	changes	and	make	comments;	send	to	Becket	Fund	atttorney
09/19/17 	TB   Communications	with	Becket	Fund	and	ADF	attorneys	regarding	settlement	terms	being	negotiated	with	 4.50
               USDOJ;	preparation	of	Section	1988	fees	and	expenses	claim
09/20/17 	JB   Work	on	fees	issues/compilation	for	nonprofit	matter                                                      2.00
09/20/17 	TB   Further	communications	with	attorneys	at	Becket	Fund	and	ADF	regarding	final	settlement	terms;	email	 7.50
               to	USDOJ	informing	them	of	our	desire	to	settle	on	same	terms;	preparation	of	claim	for	fees	and	
               expenses	under	Section	1988	as	part	of	agreement
10/04/17 	TB   Emails	to	USDOJ	officials	regarding	settlement;	emails	with	similarly	situated	attorneys	in	Zubik	cases;	 1.80
               telephone	conference	with	Mark	Rienzi;	review	file
10/09/17 	JB   Correspondence	with	co-counsel;	draft	response	to	motion	to	dismiss	appeal                                0.40
10/09/17 	TB   Telephone	and	email	communications	with	Greg	Baylor,	Mark	Rienzi,	Carl	Esbeck,	Matt	Belz	and	Dave	 1.50
               Melton	with	respect	to	responding	to	Government	motion	to	dismiss	their	appeal	and	our	request	to	
               include	attorney	fee	determination	among	things	the	district	court	should	do
10/10/17 	JB   File	response	to	motion	to	dismiss                                                                        0.20
10/10/17 	TB   Telephone	conference	with	Dave	Melton,	general	counsel	for	clients;	email	with	Esbeck	and	Matt	Belz;	 0.90
               email	with	Patrick	Nemeroff	et	al	at	USDOJ;	review	FRAPs	and	local	8th	Circuit	rules
10/12/17 	TB   Review	75	pages	of	comments	accompanying	publication	of	new	Rule	by	HHS,	Labor	and	Treasury;	apply	 2.50
               to	situations	faced	by	CNS	Corporation,	Ozark	National	Life,	NIS	Financial,	CNS	Int'l	Ministries,	inc.,	
               Heartland	Christian	College
10/14/17 	TB   Email	to	Lisa	Pake,	regarding	records	from	2003;	search	paper	records	and	Pacer	for	2002-2005	records	 1.20
               for	precedent	regarding	sending	mandate	from	8th	Circuit	to	district	court	(Judge	Webber)	to	determine	
               fees	and	expenses	on	appeal
10/15/17 	TB   Review	emails	from	USDOJ	and	Mark	Rienzi	at	Becket	Fund	regarding	settlement	discussions	on	Monday	 1.90
               (tomorrow);	review	and	flyspeck	10-13-2017	draft	of	settlement	document
10/16/17 	JB   Draft	and	file	bill	of	costs                                                                              1.00
10/16/17 	TB   To	courthouse	to	speak	with	clerk	(Yvette)	regarding	order	and	motions	regarding	fees	and	costs;	         4.50
               telephone	conference	with	Greg	Baylor,	ADF	attorney	who	also	has	8th	Circuit	cases;	telephone	
               conference	with	Dave	Melton,	client's	general	counsel;	review	and	revise	claim	for	court	costs	on	
               appeal;	telephone	conference	with	Mark	Rienzi;	telephone	conference	with	USDOJ;	telephone	
               conference	with	Greg	Baylor;	telephone	conference	with	Dave	Melton,	GC	for	clients
10/17/17 	JB   Draft	motion	to	remand	fees;	correspondence	with	co-counsel	and	attorneys	on	related	cases	               0.50
10/17/17 	TB   Emails	with	counsel	for	clients	similarly	situated;	emails	with	Dave	Melton;	emails	with	Carl	Esbeck;	    5.50
               telephone	conference	with	Carl	Esbeck;	review	and	revise	motion	to	remand	fee	request	from	8th	
               Circuit	to	district	court;	review	order	of	8th	Circuit	that	fee	motion	should	be	made	in	appeals	court;	
               discuss	with	co-counsel,	preparation	of	exhibits	for	same;	work	on	fee	and	expense	claim
10/18/17 	JB   Work	on	fee	petition	and	brief                                                                            3.00
10/19/17 	JB   Work	on	fee	petition	and	brief                                                                            2.00
10/20/17 	TB   Strategize	and	confer	with	co-counsel	etc.	regarding	how	to	proceed,	given	need	for	injunction	and	8th	 1.80
               Circuit	action;	prepare	extensive	email	regarding	same	to	Dave	Melton,	Matt	Belz	and	Carl	Esbeck
10/23/17 	JB   Work	on	fee	petition	and	brief;	research	re:	fees	and	amicus	briefs                                       3.00
10/27/17 	TB   Review	and	revise	brief	in	support	of	motion	for	fees	and	expenses,	along	with	declaration                1.60




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10/30/17 JB    Revisions	to	brief	in	support	of	motion	for	fees	and	expense;	related	research                                      4.00
11/01/17 JB    Work	on	declarations	and	exhibits	to	brief                                                                          1.00
11/01/17 	TB   Review	and	revise	motion	for	declaratory	and	injunctive	relief	being	filed	for	Catholic	Benefits	                   3.10
               Association	by	Martin	Nussbaum	in	Oklahoma;	this	is	motion	we	had	discussed	at	length,	and	will	be	
               used	by	us	in	Sharpe	Holdings	in	district	court	[1.2];	review	and	reivse	brief	in	support	of	Eighth	Circuit	
               motion	for	fees	and	expenses	[1.9]
11/02/17 JB    Correspondence	with	A.	Johnson,	T.	Hearne	and	C.	Esbeck	re:	revisions	to	declarations;	work	on	brief	               3.00
               tables
11/02/17 	TB   Review	billing	records	for	presentation	to	Eighth	Circuit;	review	and	revise	motion	for	fees,	declarations	         3.00
               and	memorandum	in	support
11/03/17 	TB   Review	and	revise	declarations,	brief	in	support	of	motion	for	fees;	communications	with	Matt	Belz	and	             2.20
               Thor	Hearne
11/6/17   JB   Final proofreading of fee brief, motion and declarations; prepare exhibits for filing; file all                     4.50



                                                                                                                 Tim Belz Hours:      625.50
                                                                                                             Matthew Belz Hours:      377.30
                                                                                                                    Total hours:      1,002.80




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                                Carl	H.	Esbeck	Statement	of	Fees	&	Costs	

 2012-03-12	     0.4	     conferring	by	telephone	with	Timothy	Belz	re:	initial	engagement	and	discussion	
 of	parties	and	possible	nature	of	claims.	

 2012-03-22	     0.4	    exchange	of	e-mails	w/	T.	Belz	re:	statement	of	faith	and	etc.	

 2012-04-04	      0.2	    exchange	e-mails	w/	T.	Belz	re:	recent	article	on	freedom	of	association	&	
 corporate	religious	conscience.	
 	
 2012-04-05	      0.7	    reviewing	research	article	by	Professor	Robert	Vischer,	on	right	of	assembly	and	
 freedom	of	association	with	respect	to	nonprofits;	send	email	to	T.	Belz	re:	pleading	count	of	freedom	of	
 association.	
 	
 2012-07-12	      2.7	    reading	Sup.	Ct.	cases	Lee,	Alamo	Foundation,	Jimmy	Swaggart	Ministries,	and	
 Prince	v.	MA;	preparing	memorandum	for	T.	Belz	and	D.	Melton;	sending	email	to	Belz	and	Melton.	
 	
 2012-07-23	      0.4	    exchange	of	e-mails	regarding	recent	rulings	on	standing	and	lack	of	ripeness	
 dismissing	cases	brought	by	Becket;	T.	Belz	email	and	attachment	re:	freedom	of	assembly.	
 	
 2014-07-01	      1.2	    two	telephone	calls	with	Timothy	Belz	re:	the	impact	of	the	Hobby	Lobby	ruling	
 on	the	part	of	this	case	pending	in	the	Eight	Circuit.	
 	
 2014-07-02	      0.3	    conferring	by	telephone	with	Timothy	Belz	re:	Kennedy’s	opinion	on	differing	
 treatment	of	religious	organizations	by	Gov’t.	
 	
 2014-07-05	      0.4	    participation	on	email	string	re:	third-party	administrators	and	footnote	9	
 solution	to	what	can	be	required	of	religious	organizations.				
 	
 2014-07-07	      0.5	    conferring	by	telephone	with	Timothy	Belz	re:	preparation	of	reply	brief.	
 	
 2014-07-09	      0.3	    participation	in	email	string	re:	our	characterization	of	substantial	religious	
 burden.	
 	
 2014-07-12	      1.2	    reviewing	proposed	brief	amici	by	Christian	Legal	Society	(Kim	Colby)	and	
 sending	two	emails	to	Timothy	Belz	with	critical	comments	on	same.	
 	
 2014-07-14	      4.4	    reviewing	and	proposing	edits	to	draft	Reply	Brief	of	Timothy	and	Matt	Belz.	
 	
 2014-07-15	      4.9	    researching	some	points	of	law;	finish	review	and	proposed	edits	to	draft	of	
 Reply	Brief;	sending	edits	via	email	to	Timothy	Belz.	
 	
 2014-07-18	      0.3	    exchanging	emails	with	Timothy	Belz	re:	latest	HHS	directive	to	disclose	to	
 employees	any	withholding	of	contraception	coverage.	
 	
 2014-07-21	      0.3	    exchanging	emails	with	Timothy	Belz	re:	communication	from	counsel	for	
 Government	w/r/t	Government	working	out	nationwide	response	to	impact	of	Hobby	Lobby	decision	on	
 religious	nonprofits.	




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 2014-08-01	       0.3	     exchanging	emails	with	Timothy	Belz	re:	new	proposed	IRS	tax	forms	bearing	on	
 ACA	responsibilities	and	religious	nonprofit	corporations.	
 	
 2014-08-18	       0.4	     exchanging	emails	with	Timothy	Belz	re:	draft	stipulation	w/r/t	new	briefing	
 schedule;	emails	on	M.	Lederman’s	blog	post	on	the	case	or	controversy	left	after	the	Wheaton	College	
 solution.	
 	
 2014-08-20	       0.3	     more	exchange	of	email	re:	M.	Lederman’s	posts	and	review	of	filings	in	10th	
 Circuit	in	similar	cases.	
 	
 2014-08-22	       0.4	     receiving	new	proposed	final	regulations	release	by	Gov’t	re:	the	Wheaton	
 College	order;	sending	email	to	Tim	Belz	regarding	same.	
 	
 2014-08-23	       1.0	     studying	new	proposed	final	regulations;	sending	half	dozen	emails	to	Tim	Belz	
 regarding	whether	Sharpe	Holdings	if	still	complicit	in	wrongdoing	such	that	there	is	still	a	RFRA	claim	
 and	case	is	not	moot.	
 	
 2014-08-25	       0.3	     exchange	of	emails	re:	burden	on	the	Government	to	make	the	first	move	
 concerning	the	new	IFRs.	
 	
 2014-11-07	       0.5	     conferring	by	telephone	w/	Timothy	Belz	re:	Eighth	Cir	setting	and	panel,	setting	
 in	Dordt	College	case	on	same	day;	plans	to	moot	the	arguments	on	day	before	and	precedent.	
 	
 2014-11-17	       0.9	     receiving	and	reading	email	traffic	about	questions	to	expect	at	oral	argument;	
 drafting	email	reply	and	commentary	in	answer	to	questions.	
 	
 2014-11-24	       2.2	     studying	Gov’t	Reply	Brief	of	Nov.	18th	and	preparing	memo	for	T.	Belz	with	
 suggestions	for	hearing	and	oral	argument;	sending	e-mail	to	T.	Belz	transmitting	same.			
 	
 2014-11-26	       1.4	     listening	to	audio	recording	of	oral	argument	in	Third	Circuit;	making	notes	of	
 things	to	do	and	not	do	in	Eighth	Circuit	and	pass	on	to	Timothy	Belz.	
 	
 2014-12-08	       2.2	     listening	to	audio	recording	of	oral	argument	in	Seventh	Circuit;	making	notes	of	
 questions	to	prepare	for	in	Eighth	Circuit	argument.	
 	
 2014-12-09	       5.4	     travel	to	Clayton,	MO,	to	moot	Belz	and	Greg	Baylor	(ADF);	meeting	with	Tim	&	
 Matt	Belz,	and	Greg	Baylor	to	discuss	how	best	to	argue	case;	mooting	Belz	and	Baylor	for	Eight	Circuit	
 oral	argument.	
 	
 2015-01-21	       0.3	     exchange	of	email	w/	T.	Belz	re:	letter	to	circuit	panel	re:	new	opinion	in	Holt	v.	
 Hobbs.	
 	
 2015-02-12	       1.3	     exchanging	emails	with	Timothy	Belz	re:	Third	Circuit	decision	in	Geneva	
 College,	and	reading	new	opinion.	
 	
 2015-02-13	       1.4	     exchanging	several	email	w/	T.	Belz	about	refining	Rule	28(j)	letter;	reading	and	
 distinguishing	Bowen	v.	Roy.	




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 2015-03-09	       1.4	    email	from	Greg	Baylor,	ADF,	concerning	SCOTUS’	gvr	of	the	Notre	Dame	case	
 decided	by	the	Seventh	Circuit;	discussion	via	email	Tim	Belz,	G.	Baylor,	and	Mark	Rienzi	concerning	
 what	to	put	into	a	Rule	28(j)	letter	to	Eighth	Circuit	where	our	appeal	is	pending.	
 	
 2015-03-10	       0.5	    reviewing	and	providing	edits	on	draft	Rule	28(j)	letter	by	T.	Belz;	reviewing	
 draft	Rule	28(j)	letter	by	Mark	Rienzi.	
 		
 2015-04-28	       0.5	    reviewing	gvr	by	Sup.	Ct.,	reviewing	three	drafts	of	Rule	28(j)	letter	by	T.	Belz.	
 	
 2015-05-20	       0.4	    reviewing	Seventh	Circuit’s	opinion	in	Notre	Dame	case;	exchanging	emails	with	
 T.	Belz.	
 	
 2015-05-21	       1.1	    reviewing	opinions	by	judges	of	D.C.	Circuit	Court	of	Appeals	in	denial	of	
 petition	for	rehearing	en	banc;	sending	email	to	T.	Belz	concerning	anticipated	Rule	28j	letter.			
 		
 2015-05-28	       1.0	    sending	T.	Belz	via	email	Becket	Funds	editorial	on	HHS	recent	release	of	
 accommodation	for	Insurance	Companies	w/r/t	no	need	to	provide	full	array	of	contraceptives;	
 exchange	of	email	re:	Governments	most	recent	Rule	28(j)	Letter;	reviewing	draft	letter,	making	
 suggested	edits	and	returning	letter	to	T.	Belz.	
 	
 2015-06-23	       1.6	    reading	with	care	latest	decision	against	our	position,	in	the	East	Texas	Baptist	
 University	case	in	the	Fifth	Circuit	court	of	appeals.		
 	
 2015-06-25	       0.4	    reading	Government’s	Letter;	exchanging	emails	with	Tim	Belz	regarding	
 Government’s	Rule	28(j)	letter.	
 	
 2015-06-26	       1.2	    conferring	by	telephone	with	T.	Belz	re:	28(j)	response;	drafting	letter	for	T.	
 Belz’s	examination	and	filing	come	Monday.	
 	
 2015-06-30	       0.3	    reviewing	drafts	of	Rule	28j	letter	in	reply	to	East	Texas	Baptist	decision.	
 	
 2015-07-09	       0.4	    reviewing	draft	of	Rule	28j	letter	on	Zubik	disposition	in	SCOTUS,	and	returning	
 e-mail	with	suggested	edits.	
 	
 2015-07-10	       0.3	    receiving	from	HHS	recent	regulatory	changes,	and	forwarding	them	to	T.	Belz.	
 	
 2015-07-15	       0.3	    working	w/	T.	Belz	on	28j	reply	to	Tenth	Circuit	opinion	in	Little	Sisters	of	the	
 Poor.			
 	
 2015-08-08	       0.4	    exchanging	email	with	T.	Belz	re:		Rule	28j	letter	in	reply	to	Second	Circuit	
 opinion.	
 	
 2015-08-09	       2.8	    reading	with	care	Second	Circuit	opinion;	composing	Rule	28j	letter;	sending	
 series	of	emails	to	Tim	and	Matt	Belz;	sending	email	to	T.	Belz	and	Greg	Baylor	of	ADF	on	TPA	not	
 subject	to	Government's	authority	because	of	ERISA.	
 	




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 2015-08-10	        2.1	   reading	T.	Belz	email	and	draft	28j	letter;	composing	new	letter	and	sending	to	
 T.	Belz	via	email;	revising	third	draft	of	letter.	
 	
 2015-08-28	        0.3	   reading	T.	Belz	email	and	draft	28j	letter	in	Michigan	Catholic	Conference	
                th
 decision	by	6 	Circuit	Court	of	Appeals;	sending	reply	email	with	suggestions.	
 	
 2015-09-11	        0.4	   reading	T.	Belz	email	and	draft	28j	letter	in	Grace	Schools	v.	Burwell,	7th	Cir.,	
 and	sending	suggestions.	
 	
 2015-09-12	        0.2	   exchange	of	emails	with	T.	Belz	on	28j	letter.	
 	
 2015-09-17	        0.9	   reading	opinions	of	Eighth	Circuit	panel	in	this	case	and	Dordt	College	case;	
 conferring	by	phone	with	T.	Belz	concerning	opinion	and	next	moves.	
 	
 2015-09-20	        0.7	   composing	email	to	T.	Belz	re:		posing	questions	concerning	arrangements	with	
 Becket	Fund	should	Government	appeal;	laying	out	argument	concerning	need	to	show	cause-in-fact	as	
 part	of	the	prima	facie	claim.	
 	
 2015-10-31	        0.4	   exchanging	emails	with	T.	Belz	re:		deadlines	for	petition	of	rehearing	en	banc	
 and	petition	for	certiorari.	
 	
 2015-11-03	        0.3	   exchange	of	emails	re:	DOJ	not	seeking	rehearing	in	Circuit.	
 	
 2015-11-06	        0.3	   exchange	of	emails	re:	grant	of	cert.	by	SCOTUS	in	related	cases	from	other	
 circuits.	
 	
 2015-12-15	        0.5	   receiving	a	viewing	Government’s	Petition	for	Writ	of	Certiorari;	sending	email	
 to	T.	Belz	regarding	response.	
 	
 2015-12-17	        1.0	   reading	with	care	Government’s	Petition	for	Writ	of	Certiorari	and	sending	
 detailed	e-mail	to	Tim	and	Mat	Belz	urging	filing	of	a	Reply	Brief	and	rationale.	
 	
 2015-12-22	        1.3	   writing	memo	concerning	Government’s	claim	that	there	is	no	“substantial	
 burden”	and	that	RFRA	claimants	have	to	do	more	than	assert	unilateral	claim	of	“burden,”	by	
 suggesting	we	agree	that	RFRA	claimants	have	to	show,	if	challenged,	both	sincerity	and	that	claimant	is	
 religious;	composing	e-mail	transmitting	attached	memo	to	Tim	and	Matt	Belz	and	Dave	Melton.	
 	
 2016-01-25	        0.3	   exchange	of	e-mails	with	Tim	and	Matt	Belz	re:	suggesting	edits	to	draft	Brief	in	
 Opposition	to	Government’s	petition	for	certiorari.		
 	
 2016-01-26	        4.2	   editing	draft	Brief	in	Opposition;	sending	email	with	attachment	to	Tim	and	
 Matt	Belz.			
 	
 2016-01-29	        0.3	   exchange	of	emails	with	T.	Belz	re:	oral	argument	setting	in	SCOTUS	and	our	
 final	reply	brief.	
 	
 2016-03-29	        0.5	   taking	note	of	SCOTUS’	request	for	add’l	briefing	in	Zubic;	email	exchanges	with	
 T.	Belz,	M.	Bela	and	D.	Melton	concerning	same.	




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 2016-03-30	      0.4	     continuing	with	discussion	with	respect	to	responding	to	SCOTUS’	thinking	and	
 how	to	respond.	
 	
 2016-03-31	      0.4	     reviewing	email	and	attachment	from	T.	Belz	re:	does	SCOTUS	order	pertain	to	
 self-insured	plans	or	not;	sending	email	reply	w/	my	advice.	
 	
 2016-04-08	      0.3	     conferring	by	phone	with	T.	Belz	re:	SCOTUS’	new	briefing	schedule	and	possible	
 replies	by	DOJ,	Becket	and	ADF.		
 	
 2016-05-16	      1.1	     reading	SCOTUS’	per	curium	opinion	and	GVR;	reading	and	participating	in	email	
 string	w/r/t	what	this	means	and	our	arguments	on	remand.		
 	
 2016-05-17	      0.5	     continued	email	exchanges	with	T.	Belz	re:	Court’s	opinion	and	approach	to	
 Circuit	panel.	
 	
 2016-07-21		 0.6	         reading	Government’s	status	report	and	emails	from	T.	Belz	and	Dave	Melton;	
 sending	emails	concerning	how	to	proceeding	given	Government’s	intent	to	impose	duty	on	TPA.		
 	
 2016-07-27	      0.5	     conferring	by	phone	with	Tim	Belz	re:	Sharpe	Holdings’	response	to	
 Government’s	status	report;	strategy	at	this	time	to	Government’s	indicated	intent	to	charge	TPA;	
 exchange	of	emails	with	T.	Belz	re:	how	to	proceed	on	Status	Report.		
 	
 2016-07-30	      0.3	     composing	email	to	T.	Belz	regarding	prompting	ruling	in	Circuit	over	Gov’ts	
 claim	that	it	has	authority	to	order	TPA	to	provide	contraception.	
 	
 2016-08-03	      0.4	     reviewing	T.	Belz	email	and	attached	order	from	Circuit;	sending	email	urging	
 motion	after	next	status	report	Oct.	7.	
 	
 2016-10-26	      0.3	     conferring	by	phone	with	T.	Belz	re:		possible	challenge	to	DOJ’s	status	report	
 suggesting	position	contra	to	ERISA,	thus	getting	a	ruling	out	of	the	Circuit	panel.	        	
 	
 2016-12-08	      0.3	     reviewing	email	from	T.	Belz	and	attached	Order	from	Circuit	Panel	granting	
 extension	of	time	to	file	status	report,	and	requesting	that	next	report	address	plaintiffs’	status	as	self-
 insured.	
 	
 2017-01-10	      0.3	     reviewing	email	from	T.	Belz	and	attached	DOJ	Status	Report;	sending	reply	
 email.	
 	
 2017-01-20	      0.3	     locating	the	new	executive	order	by	President	Trump	on	the	ACA;	sending	to	T.	
 Belz	via	email.	
 	
 2017-01-21	      0.2	     exchanging	emails	with	T.	Belz	on	new	executive	order	by	President	and	
 implications	for	resolving	this	lawsuit.			
 	
 2017-04-25	      0.3	     exchanging	emails	with	Timothy	Belz	re:	word	from	DOJ	on	Trump	
 Administration	position	on	contraceptive	mandate	and	RFRA	suits	post	Zubik	order.	
 	




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 2017-04-27	     0.6	     reviewing	notes	of	conference	call	with	Acting	Solicitor	General;	reviewing	
 emails	from	T.	Belz	and	Dave	Melton;	sending	two	emails	with	my	comments	on	SO’s	inadequate	offer	
 to	settle.			
 	
 2017-04-28	     0.3	     sending	email	with	commentary	on	the	DOJ	proposed	settlement;	discussion	
 with	Greg	Baylor	counsel	for	Dordt	College.	
 	
 2017-04-29	     0.2	     exchange	of	emails	with	T.	Belz	on	response	to	DOJ	settlement	offer.	
 	
 2017-05-01	     0.2	     reviewing	email	from	T.	Belz	and	attachments	re:	status	report	and	our	
 proposed	reply;	sending	reply	email.		
 	
 2017-05-03	     0.4	     exchanging	and	forwarding	emails	and	attachments	to	T.	Belz	concerning	
 forthcoming	Trump	Executive	Order;	comparing	leaked	EO	with	the	Ex	Order	as	signed.		
 	
 2017-05-04	     0.3	     exchanging	emails	concerning	EO	as	issued;	forwarding	statement	by	Secretary	
 of	HHS	(Price)	on	his	response	to	the	EO.	
 	
 2017-06-01	     0.4	     sending	e-mail	to	Tim	Belz	and	Dave	Melton	re:	notice	on	OMB	webpage	
 concerning	review	of	HHS	interim	final	rule	to	accommodate	religious	and	moral	objections;	sending	link	
 to	same	w/r/t	leaked	copy	of	HHS	interim	final	rule;	skimming	the	proposed	new	rule.			
 	

 Total	hours:		   71.8	

 	




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Principal	Tasks                                        Dates             T.	Belz     M.	Belz    C.	Esbeck       Totals

District	Court
Complaint,	joinder,	etc.                         7.9.12	to	11.19.13       40.2        21.9         4.8            66.9
Prel.	inj.	brief,	reply,	oral	argument,	etc.    11.21.13	to	12.25.13      69.3        76.2          0            145.5
Supp.	authorities                               12.26.13	to	12.27.13      1.9          0.5          0             2.4
Total:                                                                   111.4        98.6         4.8           214.8

Eighth	Circuit	Prior	To	Supreme	Court
Initial	correspondence	and	briefing               3.25.14	to	8.6.14      149.3        88.7         13.8          251.8
Supplemental	briefing                           8.14.14	to	11.3.14	       47.7        43.5          2.7           93.9
Oral	argument,	moot,	preparation,	etc.          11.7.14	to	12.10.14       58.8        31.5         12.6          102.9
28(j)	Letters,	8th	Cir.	Decision,	etc.           1.23.15	to	11.3.15       62.7        41.1         19.5          123.3
Total:                                                                   318.5       204.8         48.6          571.9

U.S.	Supreme	Court
Zubik	Amicus                                     11.10.15	to	1.8.16       41.2        22.6          0             63.8
Response	Cert	Petition                           1.12.16	to	1.28.16       19.8        14.5         9.3            43.6
Total:                                                                     61         37.1         9.3           107.4

Eighth	Circuit	After	Remand
Correspondence,	research,	etc.                    2.15.16	to	8.3.16       37.6          0           0             37.6
RFI	Response                                     9.13.16	to	9.20.16       13.5         5.1          0             18.6
Status	report	work,	etc.                         10.3.16	to	6.30.17       31.8         7.1         9.1             48
Fee	petition	and	settlement	work,	etc.           8.29.17	to	11.6.17       51.7        24.6          0             76.3
Total:                                                                   134.6        36.8         9.1           180.5

                                                Total	hours:              625.5      377.3         71.8         1074.6
                                                Rate:                    $450.00    $250.00      $450.00
                                                Total	fees:            $281,475.00 $94,325.00   $32,310.00    $408,110.00




                                                                                                  Exhibit	2



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                                    NO. 15-775

              In the Supreme Court of the United States
                         DEPARTMENT OF HEALTH AND
                            HUMAN SERVICES, et al.,
                                                            Petitioners,
                                           v.

                 CNS INTERNATIONAL MINISTRIES, INC. AND
                       HEARTLAND CHRISTIAN COLLEGE,
                                             Respondents.


                       On Petition for Writ of Certiorari to the
                 United States Court of Appeals for the Eighth Circuit


                    BRIEF FOR THE RESPONDENTS


             DAVID R. MELTON                    TIMOTHY BELZ
             General Counsel for CNS             Counsel of Record
              International Ministries, Inc.    J. MATTHEW BELZ
              and Heartland Christian           Ottsen, Leggat & Belz, L.C.
              College                           112 S. Hanley Road
             500 E. Ninth Street                Suite 200
             Kansas City, Missouri 64106        St. Louis, Missouri 63105
             (816) 842-6300                     (314) 726-2800
                                                tbelz@olblaw.com
                                                jmbelz@olblaw.com

                                Counsel for Respondents




                                                                           Exhibit	3



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                                          i

                             QUESTIONS PRESENTED
                  1. Does it substantially burden the Respondents’
               exercise of religion when the Government forces
               Respondents, over their sincerely held religious
               objection, to play an integral role in the provision of
               health insurance coverage for abortifacient drugs and
               devices to Respondents’ employees?
                   2. Has the Government met its burden of
               demonstrating that the so-called “accommodation” for
               religious nonprofit employers is the least restrictive
               means of satisfying a compelling governmental
               interest?




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                                         ii

                  CORPORATE DISCLOSURE STATEMENT
                  Both CNS International Ministries, Inc. and
               Heartland Christian College are religious nonprofit
               corporations that have no parent corporations. Neither
               is subject to ownership of any kind by any other
               corporation.




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               29 C.F.R. 2590.715-2713A(b)(2) . . . . . . . . . . . . . . . . 6
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               79 Fed. Reg. 51092 (Aug. 27, 2014) . . . . . . . . . . . . . 5
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               Healthcare.gov, “Why bother with health
                 insurance?” https://www.healthcare.gov/young-
                 adults/ready-to-apply/ . . . . . . . . . . . . . . . . . . . . . 8
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                                          1

                             PROCEEDINGS BELOW
                  Respondents CNS International Ministries, Inc.
               (CNS) and Heartland Christian College (HCC) are
               nonprofit religious organizations that offer healthcare
               coverage to employees through a self-insured plan.
               Sharpe Holdings, Inc. v. U.S. Dept. of Health & Human
               Services, 801 F.3d 927, 932 (8th Cir. 2015). CNS, which
               has more than fifty employees, provides full-time
               residential services to men, women, and children with
               behavioral problems or who suffer from alcohol or drug
               dependencies. Id. CNS also operates a school that
               serves the children of individuals in its recovery
               program, as well as its employees’ children. Id. at 933.
               HCC, which has fewer than fifty employees, provides
               post-secondary higher education to employees and
               residents of CNS and their dependents. Id.
               Respondents are located in northeast Missouri.
                   In accordance with their sincerely held religious
               beliefs, CNS and HCC oppose the use, funding,
               provision, or support of elective abortions, and they
               believe that certain contraceptives required under the
               contraceptive mandate—Plan B, ella, and copper
               IUDs—can and do provide elective abortions. Id. at
               935-36. CNS and HCC brought suit alleging that the
               Government is coercing them to violate their religious
               beliefs by threatening to impose severe monetary
               penalties unless they either directly provide coverage
               for abortifacients through their group health plan or
               facilitate that objectionable coverage through the
               “accommodation” process. Id. at 936.
                  The district court for the Eastern District of
               Missouri granted injunctive relief in favor of CNS and
               HCC, citing the Religious Freedom Restoration Act of




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               1993 (RFRA), 42 U.S.C. 2000bb to 2000bb–4. 801 F.3d
               at 936. The Government appealed to the Eighth
               Circuit, but, after filing its notice of appeal, revised the
               “accommodation” that was in place to permit religious
               organizations to self-certify using a written instrument
               to HHS as an alternative to using Form 700. Sharpe
               Holdings, 801 F.3d at 936. The Government called this
               the “augmented accommodation.” East Tex. Baptist
               Univ. v. Burwell, No. 15-35, Govt. Brief in Opposition
               (Sept. 2015), at 18. CNS and HCC argued that the new
               rule does “nothing more than coerce [them] into
               another avenue that violates their religion.” Sharpe
               Holdings, 801 F.3d at 936.
                   The Court of Appeals observed that the Government
               would impose substantial financial penalties to
               pressure plaintiffs to commit acts contrary to their
               religious consciences. Id. at 937-38. Following the
               analysis dictated by this Court in Burwell v. Hobby
               Lobby Stores, Inc., 134 S. Ct. 2751 (2014), the court
               concluded that the Government was substantially
               burdening the plaintiffs’ religious exercise. Sharpe
               Holdings, 801 F.3d at 937-43. The Court of Appeals
               deferred to the plaintiffs’ theological assessment of the
               morality of complying with the mandate, refusing to
               second-guess their religious beliefs concerning
               complicity in sin. Id. at 938-39. The Court of Appeals
               rejected the Government’s false contention that the
               plaintiffs were merely objecting to the acts of third
               parties, observing that the plaintiffs could not,
               consistent with their consciences, do what the
               Government was requiring them to do. Id. at 942.
                   The Court of Appeals also held that the Government
               failed to prove that imposing the mandate upon the




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               plaintiffs was the least restrictive means of advancing
               a compelling governmental interest. Id. at 943-45. The
               court observed that the plaintiffs had identified various
               other, less restrictive ways the Government might
               pursue its interests, and that the Government had
               failed to prove the inadequacy of these alternatives. Id.
               at 945.
                   The decision of the Court of Appeals in favor of CNS
               and HCC created a split among the federal circuits,
               which had previously only ruled in favor of the
               Government in similar cases. See Michigan Catholic
               Conference & Catholic Family Servs. v. Burwell, 807
               F.3d 738 (6th Cir. 2015); Grace Schools v. Burwell, 801
               F.3d 788 (7th Cir. 2015); Catholic Health Care Sys. v.
               Burwell, 796 F.3d 207 (2d Cir. 2015); Little Sisters of
               the Poor Home for the Aged v. Burwell, 794 F.3d 1151
               (10th Cir.), cert. granted, Nos. 15-105 and 15-119 (Nov.
               6, 2015); East Tex. Baptist Univ. v. Burwell, 793 F.3d
               449 (5th Cir.), cert. granted, No. 15-35 (Nov. 6, 2015);
               Wheaton College v. Burwell, 791 F.3d 792 (7th Cir.
               2015); University of Notre Dame v. Burwell, 786 F.3d
               606 (7th Cir. 2015); Zubik v. Burwell, 778 F.3d 422 (3d
               Cir.), cert. granted, Nos. 14-1418 and 15-191 (Nov. 6,
               2015); Priests for Life v. HHS, 772 F.3d 229 (D.C. Cir.
               2014), cert. granted, Nos. 14-1453 and 14-1505 (Nov. 6,
               2015).
                                   ARGUMENT
                  CNS International Ministries, Inc. and Heartland
               Christian College do not oppose the Government’s
               request that the Court dispose of their petition in
               accordance with the forthcoming decision in Zubik v.
               Burwell, 778 F.3d 422, cert. granted, No. 14-1418 (Nov.




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               6, 2015), and the consolidated cases.1 However, the
               persistent mischaracterizations in the Government’s
               petition—of how the alternative compliance mechanism
               works and of the Respondents’ arguments—warrant a
               brief response.
                   The Government repeatedly and incorrectly
               characterizes the accommodation as an “opt-out” and
               describes the objections of CNS and HCC as bearing on
               the actions of “third parties” and not their own. These
               characterizations must be nipped in the bud: “A phrase
               begins life as a literary expression; its felicity leads to
               its lazy repetition; and repetition soon establishes it as
               a legal formula, undiscriminatingly used to express
               different and sometimes contradictory ideas.” Tiller v.
               Atl. Coast Line R. Co., 318 U.S. 54, 68 (1943).
               “Metaphors in law are to be narrowly watched,” Justice
               Cardozo warned in Berkey v. Third Ave. Ry. Co., 244
               N.Y. 84, 94 (1926), and “[a] rule of law should not be
               drawn from a figure of speech.” McCollum v. Board of
               Education, 333 U.S. 203, 247 (1948) (Reed, J.,
               dissenting).




               1
                 The Eighth Circuit Court of Appeals issued its opinion on
               September 17, 2015. This Court granted certiorari in the cases
               from the other circuits on November 6, 2015. The Government
               then waited until the 89th day (December 15, 2015) after the
               Eighth Circuit’s decision in this case to file its petition for a writ
               of certiorari, making consolidation with the existing cases unlikely
               and effectively thwarting any possibility that CNS and HCC would
               be able to defend the Court of Appeals decision in their favor before
               this Court.




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               I. The so-called accommodation is not an “opt-
                  out.”
                   The Government, over and over, characterizes the
               accommodation as an “opt-out.” Pet. for Cert., pp. I, 5,
               7, 8, 9, 10. This is not by convenience but as a form of
               argument: how can the Respondents object to merely
               saying they object?
                  The accommodation is not an opt-out, however, and
               neither the district court nor the Eighth Circuit Court
               of Appeals ever characterized it that way. Sharpe
               Holdings, Inc. v. U.S. Dept. of Health & Human
               Services, 2:12 CV 92 DDN, 2013 WL 6858588 (E.D. Mo.
               Dec. 30, 2013), aff’d, 801 F.3d 927 (8th Cir. 2015). The
               Government’s sleight of hand results in confounding
               rather than enlightening the issues presented.
                  The accommodation’s true nature is revealed when
               it is analyzed next to the Government’s offer of
               exemption for objecting churches. The church
               exemption requires nothing—objecting churches and
               their integrated auxiliaries simply do not have to
               comply with the contraceptive mandate. 45 C.F.R.
               147.131(a). This is an opt-out.
                  The accommodation requires much more, in at least
               three related ways. First, to invoke the accommodation,
               HCC and CNS must inform either their Third-Party
               Administrator (TPA) or the Government that they are
               availing themselves of the accommodation. 79 Fed.
               Reg. 51092, 51094-95 (Aug. 27, 2014). Second, if HCC
               and CNS are availing themselves of the supposedly less
               restrictive written instrument that goes straight to the
               Government, they must identify their TPA therein. Id.
               Third, tying everything together, the Government then




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               requires that the TPA provide or arrange for
               abortifacient coverage to employees of HCC and CNS.
               29 C.F.R. 2590.715–2713A(b)(2); Wheaton College v.
               Burwell, 134 S. Ct. 2806, 2814 n.6 (2014) (Sotomayor,
               J., dissenting) (“Wheaton’s third-party administrator
               bears the legal obligation to provide contraceptive
               coverage only upon receipt of a valid self-
               certification.”). This is all of one package despite the
               Government’s attempt to claim otherwise.
                  This scheme creates a mirage of attenuation from
               the immoral act, but in the end the evildoing remains
               entirely dependent upon the actions of HCC and CNS.2
               The moment HCC or CNS hires an employee,
               abortifacient coverage is guaranteed for that person
               whether the accommodation is utilized or not. And
               when the employment ends, the abortifacient coverage
               terminates with the rest of the insurance coverage.
                  The abortifacient coverage thus attaches as a
               parasite to the plan offered by CNS and HCC. Part of
               the employee compensation package—intended as a
               beneficence for the well-being of employees—is


               2
                Hobby Lobby forecloses the attenuation argument entirely. As the
               Court explained, this argument “implicates a difficult and
               important question of religion and moral philosophy, namely, the
               circumstances under which it is wrong for a person to perform an
               act that is innocent in itself but that has the effect of enabling or
               facilitating the commission of an immoral act by another.”
               134 S. Ct. at 2778. After a plaintiff draws a line between
               religiously permissible and impermissible conduct, “‘it is not for
               [courts] to say that the line [is] an unreasonable one.’” Id. (quoting
               Thomas v. Review Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 715
               (1981)); see also Sharpe Holdings, 801 F.3d at 942 (rejecting
               attenuation argument).




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               appropriated by the Government and turned into an
               act the Respondents believe is malum in se. The
               objectionable abortifacient coverage is actuated when
               individual employees are hired and is coterminous with
               their employment. The health plan of HCC and CNS is
               thus the integral sine qua non foundation of the
               Government’s mandate. This is exactly the facilitation
               of evil that the Respondents object to as a matter of
               sincerely held religious belief.
                  The Government has previously admitted in a
               similar challenge that the objectionable coverage is
               part of the objector’s health plan. See Transcript of
               Motions Hearing at 18, Dkt. 54, Roman Catholic
               Archbishop of Wash. v. Sebelius, No. 13-1441 (D.D.C.
               Nov. 22, 2013) (admitting that “technically, the
               [coverage] is part of [the religious objector’s] plan”); see
               also Id. at 16-17 (admitting that “services become
               available to the employees by virtue of their
               participation in the religious [objector’s] plan”); Sharpe
               Holdings, 801 F.3d at 942 (“Here, the third parties are
               TPAs, who will provide the objectionable coverage to
               CNS and HCC’s employees through the group health
               plan.”) (emphasis added).
                  The Government’s characterization of the
               accommodation as an opt-out is an attempt to frame
               this case as HCC and CNS taking an unreasonable
               position despite conciliatory efforts by the Government.
               This is not what has happened. Religious objectors like
               Respondents have asked to be left out of the provision
               of contraceptives (here, abortifacients) to their
               employees, and the Government’s only response has
               been to add another link in the causal chain between




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               religious entities and the provision of contraceptives to
               employees.
               II. HCC and CNS ask not to prevent “third
                   parties” from providing contraceptive
                   coverage to employees, but that they
                   themselves be left out of the Government’s
                   scheme.
                  CNS and HCC have never sought “to prevent the
               government from arranging for third parties to provide
               separate coverage to [employees].” Pet. for Cert., pp. I,
               10. But they do ask the courts to recognize that RFRA
               provides refuge from laws that dragoon them into
               participating, collaborating, and serving as an integral
               mechanism in the provision of coverage to their
               employees for abortifacient products, against religious
               conscience.
                   CNS and HCC have pointed often to the
               Government’s “most straightforward” way of achieving
               its goals—just providing contraceptives itself through
               such mechanisms as Title X or tax incentives. Hobby
               Lobby, at 2780. Alternatively, CNS and HCC have
               argued that the Government could allow employees of
               religious objectors to obtain subsidized coverage from
               true third-parties on the Government’s own exchanges.
               The Government has assured the Nation’s young adults
               that using the exchanges “can be easy and fast” and
               “[doesn’t] take much time at all.” Healthcare.gov, “Why
               bother with health insurance?” https://www.healthcare.
               gov/young-adults/ready-to-apply/ (last visited Jan. 21,
               2016).
                  Instead of these approaches, the Government
               continues to insist that the only way the United States




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               can satisfactorily distribute abortifacients is with the
               forced participation of CNS and HCC, their employee
               health insurance plan, and their TPA. The Government
               seeks to coerce CNS and HCC to participate by
               providing information about their plan and TPA, which
               the Government then exploits to coerce Respondents’
               TPA to take action contrary to the terms of the plan
               and religious beliefs of CNS and HCC.
                  These TPAs are the “third parties” the Government
               refers to, as if they were autonomous from their
               relationship with Respondents and the health plans
               they, the TPAs, administer. In reality, the TPAs are
               agents of those that pay for the health plans, and
               entities such as CNS and HCC have established
               contractual relationships with their TPAs. Sharpe
               Holdings, 801 F.3d at 942 (“Here, the third parties are
               TPAs, who will provide the objectionable coverage to
               CNS and HCC’s employees through the group health
               plan.”) (emphasis added).
                  The objection of CNS and HCC is not to “third
               parties” or even the Government itself providing
               abortifacient coverage to affected women. Their
               objection is rather that, even under the augmented
               accommodation, any health plan of CNS and HCC must
               serve as a conduit or platform for the delivery of
               objectionable products and services to their plan
               beneficiaries. The TPA for CNS and HCC will provide
               the objectionable coverage to CNS and HCC employees
               only by virtue of their enrollment in the CNS and HCC
               plan and only so long as they are enrolled in that plan.
                   This is the facilitation, participation and complicity
               that Respondents object to as a matter of sincerely held
               religious beliefs, and those beliefs cannot be gainsaid




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               by civil officials. Hobby Lobby, 134 S. Ct. at 2778
               (quoting Thomas v. Review Bd. of Ind. Emp’t Sec. Div.,
               450 U.S. 707, 715 (1981)).
                                  CONCLUSION
                  This Court should hold the petition for a writ of
               certiorari in this case pending the decision in Zubik v.
               Burwell, No. 14-1418, and the consolidated cases, and
               then dispose of the petition as appropriate in light of
               the Court’s decision in those cases.
                  Respectfully submitted.
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               JANUARY 2016




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 Supreme Court of the United States
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                       DAVID A. ZUBIK, ET AL.,
                                                                                                 Petitioners,
                                                        v.

      SYLVIA BURWELL, SECRETARY OF HEALTH
           AND HUMAN SERVICES, ET AL.,
                                                                                                Respondents.
                          --------------------------------- ---------------------------------
               On Writs Of Certiorari To The
              United States Courts Of Appeals
              For The Third, Fifth, Tenth, And
               District Of Columbia Circuits
                   --------------------------------- ---------------------------------
 BRIEF OF CNS INTERNATIONAL MINISTRIES,
 INC. AND HEARTLAND CHRISTIAN COLLEGE
AS AMICI CURIAE IN SUPPORT OF PETITIONERS
             --------------------------------- ---------------------------------
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   CORPORATE DISCLOSURE STATEMENT

    Both CNS International Ministries, Inc. and
Heartland Christian College are religious nonprofit
corporations that have no parent corporations. Nei-
ther is subject to ownership of any kind by any other
corporation.




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         INTEREST OF THE AMICI CURIAE1
     CNS International Ministries, Inc. (CNS Minis-
tries) and Heartland Christian College (HCC) are
nonprofit religious organizations that offer healthcare
coverage to employees through a self-insured plan.
CNS Ministries and HCC, in accordance with their
sincerely held religious beliefs, oppose the use, fund-
ing, provision, or support of abortion on demand, and
they believe that certain contraceptives required
under the contraceptive mandate – Plan B, ella,
and copper IUDs – can and do cause abortions on
demand.
     CNS Ministries and HCC challenged the man-
date and the so-called “accommodation” for religious
nonprofits in the District Court for the Eastern
District of Missouri, and obtained an injunction
against enforcement of the mandate against them.
Sharpe Holdings, Inc. v. U.S. Dept. of Health &
Human Services, 2:12 CV 92 DDN, 2013 WL 6858588,
at *3 (E.D. Mo. Dec. 30, 2013), aff ’d, 801 F.3d 927
(8th Cir. 2015). The Government appealed to the
Eighth Circuit Court of Appeals, which affirmed the
district court’s decision, including ruling in favor of
CNS Ministries and HCC as to the “accommodation”

    1
        The parties consented to this filing. Their letters of
consent are on file with the Clerk. In accordance with Rule 37.6,
amici state that no counsel for any party authored this brief in
whole or in part, and that no person or entity, other than the
amici and their counsel, has contributed monetarily to the
brief ’s preparation or submission.




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as it had been augmented in 2014. Id. The Govern-
ment filed a petition for a writ of certiorari in the
Supreme Court, No. 15-775 (Dec. 15, 2014), and
asked the Court to hold it pending the Court’s deci-
sion in Zubik v. Burwell and the consolidated cases.
The Government’s delay in filing its petition until 89
days after the decision of the Court of Appeals made
consolidation with the existing cases unlikely and
effectively thwarted any possibility that CNS Minis-
tries and HCC would be able to defend the Eighth
Circuit’s decision in their favor before this Court.
    The interest of the amici curiae is in the preser-
vation of their injunction as affirmed by the Court of
Appeals.
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           SUMMARY OF THE ARGUMENT
     The Religious Freedom Restoration Act (RFRA)
requires the Government to show that the contracep-
tive mandate is “the least restrictive means of fur-
thering [its] compelling governmental interest.” 42
U.S.C. 2000bb-1(b)(2).
    Since the Patient Protection and Affordable Care
Act (ACA)2 was enacted in March of 2010, the means
by which the Government enforces its regulatory

    2
      The ACA consists of the Patient Protection and Affordable
Care Act, Public Law 111-148, and the Health Care and Educa-
tion Reconciliation Act of 2010, Public Law 111-152.




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contraceptive mandate has been altered at least eight
times. Each time, prior to amendment, the Govern-
ment had insisted that it was already employing the
least restrictive means of furthering its interests.
     At first, opposition from individual and corporate
religious objectors forced the Government to back off.
At each of the remaining stages of the Government’s
regulatory retreat, courts, high and low, have found
the Government’s least-restrictive-means iterations
to come up short.
     Each time the contraceptive mandate has been
altered to address religious concerns, detailed infra,
the Government’s prior claim that it was employing
the least restrictive means has been proven wrong.
The Government has again and again backed off, but
only as little as possible each time. The Government
has not taken RFRA’s least restrictive means re-
quirement seriously but instead has repeatedly tried
to use the most restrictive means it can get away
with.
     The Government now claims that, after eight
stingy, parsimonius backward steps, it has again
identified the absolutely irreducible least restrictive
means of enforcing its regulatory contraceptive
mandate. Given the panoply of alternative means still
available to and untried by the Government, its
current version is no more credible than those reject-
ed in the past.
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                   ARGUMENT
THE GOVERNMENT HAS EIGHT TIMES
CLAIMED THAT ITS THEN-CURRENT VER-
SION OF THE MANDATE WAS THE LEAST
RESTRICTIVE MEANS AND EACH TIME
THEREAFTER ADMITTED THAT LESS RE-
STRICTIVE MEANS EXIST.
     Since 2010, the Government has successively
claimed, at least eight times, that the then-current
version of the contraceptive mandate was the least
restrictive means of furthering governmental inter-
ests. These claims have been followed by public
outcries and court cases, which in turn have been
followed by the Government successively admitting
that less restrictive means indeed exist and would be
utilized. This history, detailed infra, undermines any
claim by the Government today that it has presented
objecting religious claimants or the Court with the
least restrictive means.


I.   The Religious Employer (Church) Exemp-
     tion and Its Revisions
     Presumably, the contraceptive mandate, as orig-
inally promulgated in 2010, was considered by the
Government to be the least restrictive means of
achieving its interests. RFRA and its least restric-
tive means test, “appl[y] to all Federal law, and
the implementation of that law, whether statutory or
otherwise . . . ” 42 U.S.C. 2000bb-3. Accordingly, the
Government was obligated to employ the least restric-
tive means in its enforcement of the contraceptive




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mandate from the beginning, and citizens have had a
right since the interim final rules establishing the
mandate were published, in July 2010 (75 Fed. Reg.
41726), to expect the Government to do so.
     In August 2011, however, the Government ac-
knowledged that the contraceptive mandate burdens
religious exercise, and it announced a narrow exemp-
tion for houses of worship. This appears to be the
result of “considerable feedback” from commenters,
including from “religious employers.” 76 Fed. Reg.
46621, 46623 (Aug. 3, 2011). “In the Departments’
view, it is appropriate that HRSA [Health Resources
and Services Administration], in issuing these Guide-
lines, takes into account the effect on the religious
beliefs of certain religious employers if coverage of
contraceptive services were required in the group
health plans in which employees in certain religious
positions participate.” Id.
     The amended interim final regulations specified
that, for purposes of this exemption, a religious
employer is one that: (1) Has the inculcation of reli-
gious values as its purpose; (2) primarily employs
persons who share its religious tenets; (3) primarily
serves persons who share its religious tenets; and
(4) is a nonprofit organization described in section
6033(a)(1) and section 6033(a)(3)(A)(i) or (iii) of the
U.S. Code. Section 6033(a)(3)(A)(i) and (iii) of the
Code refer to churches, their integrated auxiliaries,
and conventions or associations of churches, as well
as to the exclusively religious activities of any




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religious order. 26 U.S.C. 6033(a)(3)(A)(i), (iii); 77
Fed. Reg. 8725, 8726 (Feb. 15, 2012).
    The Government specifically stated that RFRA
and the least restrictive means test were satisfied by
the religious employer exemption:
        Likewise, this approach complies with the
        Religious Freedom Restoration Act, which
        generally requires a federal law to not sub-
        stantially burden religious exercise, or, if it
        does substantially burden religious exercise,
        to be the least restrictive means to further a
        compelling government interest.
Id. at 8729. The Government assumed the religious
exemption would take care of any religious concerns.
The Government claimed, after its false start in 2010,
to have determined the least restrictive means for
furthering its interests.
    But the exemption was soon shown to be far too
narrow. As the head of Catholic Charities USA ob-
served, “the ministry of Jesus Christ himself ” would
not qualify for the exemption given that he did not
confine his ministry to co-religionists.3
     In response to complaints such as these, the
Government found in July 2013 that it did have a
less restrictive means for accomplishing its interest,


    3
       Edward Whelan, The HHS Contraception Mandate vs. The
Religious Freedom Restoration Act, 87 Notre Dame L. Rev. 2179,
2180 (2012).




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and it broadened the religious exemption to include,
essentially, just the fourth prong of the original test:
“a ‘religious employer’ is an organization that is
organized and operates as a nonprofit entity and is
referred to in section 6033(a)(3)(A)(i) or (iii) of the
Internal Revenue Code of 1986, as amended.” 45
C.F.R. 147.131. This means the exemption applied to
churches and their integrated auxiliaries, without
further inquiry.
     Previously, churches that ran schools and soup
kitchens would not have qualified for the exemption,
as their charity was not limited to serving people of
their own faith. “Specifically,” the Government states
in the Federal Registry, “[these changes] were intend-
ed to ensure that an otherwise exempt plan is not
disqualified because the employer’s purposes extend
beyond the inculcation of religious values or because
the employer hires or serves people of different reli-
gious faiths.” 78 Fed. Reg. 39870, 39874 (July 2,
2013).


II.   The Temporary Enforcement Safe Harbor
    The religious exemption, even as broadened, left
the vast majority of religious nonprofits unprotected
against the mandate. A religiously-oriented food
bank, for instance, was not a church and therefore
was subject to the mandate unless another exemption
applied.
    Before broadening the religious employer (church)
exemption in 2013 (see Section I supra), the Gov-
ernment had altered its course another way and




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instituted a “temporary enforcement safe harbor” for
certain religious nonprofits. 77 Fed. Reg. 8725, 8729
(Feb. 15, 2012). With the “temporary safe harbor,” the
Government promised not to enforce the mandate
against religious nonprofits for at least 18 months.
The safe harbor was made available to entities that
satisfied all of the following criteria:
    1.   The organization is organized and oper-
         ates as a nonprofit entity.
    2.   From February 10, 2012 onward, contra-
         ceptive coverage has not been provided
         at any point by the group health plan es-
         tablished or maintained by the organiza-
         tion, consistent with any applicable
         State law, because of the religious beliefs
         of the organization.
    3.   The group health plan established or
         maintained by the organization (or an-
         other entity on behalf of the plan, such
         as a health insurance issuer or third-
         party administrator) must provide to
         participants a notice which states that
         contraceptive coverage will not be pro-
         vided under the plan for the first plan
         year beginning on or after August 1,
         2012.
    4.   The organization self-certifies that it sat-
         isfies criteria 1-3 above, and documents




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             its self-certification in accordance with
             the procedures detailed herein.4
    During this safe harbor period, on March 21,
2012, the Government proposed a permanent “ac-
                                                 5
commodation” for certain religious nonprofits. The
proposed accommodation would require health insur-
ance issuers of objecting nonprofits to provide contra-
ceptive coverage directly to the participants and
beneficiaries covered under the organization’s plan
with no cost sharing.6
     On August 15, 2012, the Government admitted,
in response to lawsuits, that the safe harbor was too
narrow, and so it again found less restrictive means
for achieving its interests and broadened the safe
harbor to include additional organizations. The
Government “clarified” three points:
        1.   That the “safe harbor is also available to
             nonprofit organizations with religious
             objections to some but not all contracep-
             tive coverage . . . ”
        2.   That “group health plans that took
             some action to try to exclude or limit

    4
       Guidance on the Temporary Enforcement Safe Harbor,
Feb. 10, 2012, http://www.nacua.org/documents/HHS_HealthInsurance_
Guidance.pdf (last visited Jan. 3, 2016).
     5
       Advance Notice Of Proposed Rulemaking (Anprm) (March
21, 2012), https://www.federalregister.gov/articles/2012/03/21/2012-
6689/certain-preventive-services-under-the-affordable-care-act (last
visited Jan. 4, 2016).
     6
       Id.




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             contraceptive coverage that was not suc-
             cessful as of February 10, 2012, are not
             for that reason precluded from eligibility
             for the safe harbor . . . ”
        3.   That the “safe harbor may be invoked
             without prejudice by nonprofit organ-
             izations that are uncertain whether
             they qualify for the religious employer
             [church] exemption . . . ”7
Although billed as a clarification, the changes were
significant. The first bullet point expanded the safe
harbor to entities that did not object to all “contracep-
tives,” such as the many Protestant organizations
that do not religiously oppose birth control pills but
do oppose the morning after pill. The change offered
in the second bullet point is also important, as the
clarification to which it refers reads as follows:
        With respect to the second criterion above,
        the following exception applies. A group
        health plan will be considered not to have
        provided all or the same subset of the contra-
        ceptive coverage otherwise required if it took
        some action to try to exclude or limit such
        coverage that was not successful as of
        February 10, 2012. Accordingly, such cover-
        age will not disqualify an employer, a group

    7
       Alden J. Bianchi, “HHS/CCIIO Revises Temporary En-
forcement Safe Harbor on Contraceptive Coverage Offered by
Religiously Affiliated Tax-Exempt Entities,” https://www.mintz.
com/newsletter/2012/Advisories/2194-0812-NAT-ELB/index.html (last
visited Jan. 3, 2015).




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        health plan, or a group health insurance is-
        suer from eligibility for the safe harbor.”8
     On June 28, 2013, with the safe harbor about to
expire, the Government admitted that the mandate
was still burdening nonprofit religious organizations,
so it extended the safe harbor for another six months
(now totaling two years).9


III. The “Accommodation”
     The same rules that extended the temporary
enforcement safe harbor also created the “accommo-
dation” for religious nonprofits, first officially pro-
posed in March 2012 (discussed supra).10 Under the
“accommodation,” an insurance issuer was required
to exclude contraceptive coverage from the employer’s
plan and provide plan participants with coverage for
contraceptive services separately without imposing
any cost-sharing requirements on the employer, its
insurance plan, or its employee beneficiaries. Burwell
v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2755
(2014).
     To take advantage of the accommodation, the
religious nonprofit would have to self-certify, using a

    8
        Id.
    9
        Guidance on the Temporary Enforcement Safe Harbor,
June 28, 2013, https://www.cms.gov/CCIIO/Resources/Regulations-
and-Guidance/Downloads/preventive-services-guidance-6-28-2013.pdf
(last visited Jan. 3, 2015); 78 Fed. Reg. 39870 (July 2, 2013).
     10
         Id.




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form provided by the Government, that it was eligible
for the accommodation and inform its insurance
issuers and third-party administrator (TPA) about
the objection. 45 C.F.R. 147.131(b); see 29 C.F.R.
2590.715-2713A(a); 26 C.F.R. 54.9815-2713A(a); 78
Fed. Reg. at 39874-75. According to the Government,
“the accommodations for eligible organizations under
these final regulations do not violate RFRA because
they do not substantially burden religious exercise,
and they serve compelling government interests and
moreover are the least restrictive means to achieve
those interests.” 78 Fed. Reg. at 39886-87.
    Nonprofits who opposed the mandate found no
comfort in the “accommodation”:
    [T]he government has fundamentally mis-
    construed the plaintiffs’ religious objections:
    “Plaintiffs’ religious objection is not only to
    the use of contraceptives, but also being re-
    quired to actively participate in a scheme to
    provide such services.” Roman Catholic
    Archdiocese of N.Y., 2013 WL 6579764, at
    *14. The accommodation requires objectors
    themselves to sign a form that is, “in effect, a
    permission slip.” S. Nazarene Univ., 2013 WL
    6804265, at *8. . . . [B]ecause Wheaton views
    completing the self-certification itself as for-
    bidden complicity with the government’s
    scheme, “regardless of the effect of plaintiffs’
    TPAs, the regulations still require plaintiffs
    to take actions they believe are contrary to
    their religion.”




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Wheaton v. Burwell, Emergency Application for
Injunction, 13A1284 (U.S. June 29, 2014) at 31.
     The Government responded that the accommoda-
tion, as effected by using the self-certification form
and providing it to the insurance issuer or third-party
administrator, was the least restrictive means of
serving its interests. Wheaton v. Burwell, Memoran-
dum in Opposition, 13A1284 (U.S. July 2, 2014) at 31.
    On July 3, 2014, the Supreme Court entered its
order regarding Wheaton College’s application for an
emergency injunction against enforcement of the
mandate, including the accommodation. Wheaton
Coll. v. Burwell, 134 S. Ct. 2806, 2807 (2014). “The
Circuit Courts,” the Court said, “have divided on
whether to enjoin the requirement that religious
nonprofit organizations use EBSA Form 700.” The
Court ruled that Wheaton College did not have to use
the form, but could merely “inform[ ] the Secretary of
Health and Human Services in writing that it is a
nonprofit organization that holds itself out as reli-
gious and has religious objections to providing cover-
age for contraceptive services” and it would be
entitled to an injunction against enforcement of the
mandate, pending appeal. Id. at 2807.
    After the Supreme Court order in Wheaton
College, as well as those in Little Sisters of the Poor
v. Sebelius, 134 S. Ct. 1022 (2014) and Hobby Lobby,
134 S. Ct. 2751 (2014), the Government admitted
that the then-current accommodation needed to be




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changed, and that it would issue new regulations to
“augment” it.11


IV. The Augmented “Accommodation”
     Under the augmented rules, published August
27, 2014, a religious objector whom the Government
has chosen not to exempt need not notify its health
insurer or TPA of its objection to the mandate; in-
stead, if it does not follow that procedure, it “must”
submit to the Government a form or notice identify-
ing its religious objection, the name and type of its
health plan, and – for the first time – “the name and
contact information for any of the plan’s [TPAs].” 79
Fed. Reg. 51092, 51094-95 (Aug. 27, 2014). The rules
dictate that then the Government “will send a sepa-
rate notification to” the religious organization’s TPA
creating the TPA’s obligation to deliver emergency
contraceptives to participants in the religious organi-
zation’s health plan. Id. at 51095, 51098; see 26 C.F.R.
54.9815-2713A(b)(1)(ii)(B).
    So Form 700, the centerpiece of the Government’s
previous attempt at satisfying the least restrictive
means test, was now paired with an alternative –
instead of sending the form to a health insurer or TPA
and knowing that it would initiate contraceptive
coverage, an objector could identify its insurer or TPA

    11
       Little Sisters of the Poor v. Burwell, Supplemental Gov’t
Brief, Nos. 13-1540, 14-6026, 14-6028 (10th Cir. July 22, 2014)
at 11.




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to the Government knowing that the insurer or TPA
would then be directed to initiate contraceptive cov-
erage. The Government calls this an “additional noti-
fication option.”12
     This augmented accommodation is the latest
offering by the Government to convince objectors and
the courts that it is satisfying its obligations under
the least restrictive means test.


V.        The “Accommodation” for For-Profit Enti-
          ties
    The augmented accommodation has also been
made available to closely-held for-profit entities that
object to the mandate on religious grounds. 79 Fed.
Reg. 51118, 51121 (Aug. 27, 2014). This accommoda-
tion was offered in the wake of the Supreme Court
holding that the mandate did not pass the least
restrictive means test. Burwell v. Hobby Lobby
Stores, Inc., 134 S. Ct. 2751, 2780-83 (2014). The
Government had argued for two years that the man-
date as originally applied to for-profit entities was the
least restrictive means of furthering governmental
interests. See, e.g., Sharpe Holdings v. U.S. Dept. of
Health & Human Services, Gov’t brief, Doc. 14 at 24-
25 (E.D. Mo. Dec. 28, 2012); Burwell v. Hobby Lobby

     12
       Women’s Preventive Services Coverage and Non-Profit
Religious Organizations, https://www.cms.gov/cciio/resources/fact-
sheets-and-faqs/womens-preven-02012013.html (last visited Jan.
6, 2015).




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Stores, Inc., Govt. Cert. Pet. at 17 (U.S. Sept. 2013);
Burwell v. Hobby Lobby Stores, Inc., 13-354, Govt.
Brief at 57-58 (U.S. Sept. 2013); Conestoga Wood
Specialties v. Burwell, Petitioners’ Brief, No. 13-356,
at 55-57 (U.S. Feb. 2014).
                --------------------------------- ---------------------------------

                       CONCLUSION
     The Government continues its retreat from the
original means by which it sought to further its
interests. After at least eight modifications, it now
claims that the least restrictive means is the aug-
mented accommodation. This results from the Gov-
ernment’s clinging to language in Hobby Lobby that
the accommodation was a less restrictive means than
the mandate in effect at the time against for-profit
businesses. But “less” is not “least.” Indeed, the Court
found that the “most straightforward way of doing
this would be for the Government to assume the cost
of providing the four contraceptives at issue to any
women who are unable to obtain them under their
health-insurance policies due to their employers’
religious objections.” Burwell v. Hobby Lobby Stores,
Inc., 134 S. Ct. 2751, 2780 (2014).
     This “most straightforward way” could easily be
implemented by using the “established framework”
(Id. at 2786 (Kennedy, J., concurring)) of ACA health
insurance exchanges. This would not impose a “whole
new program” on the Government. Id. The Government
has assured the Nation’s young adults that using the




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exchanges “can be easy and fast” and “[doesn’t] take
much time at all.”13
    The Government has eschewed this option,14
without any explanation, establishing instead a
stubborn and persistent record of avoiding the least
restrictive means and instead employing the most
restrictive means it can get away with.
   The decisions of the courts below in favor of the
Government should be reversed.
     Respectfully submitted.
                     TIMOTHY BELZ
                        Counsel of Record
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    13
        Healthcare.gov, “Why bother with health insurance?”
https://www.healthcare.gov/young-adults/ready-to-apply/ (last vis-
ited Jan. 6, 2015).
     14
        Other options that would not require the Government to
go outside an “established framework” or start a “whole new
program” (134 S. Ct. at 2786 (Kennedy, J., concurring)) include,
for instance, expansion of Title X, Medicaid or tax incentives.




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               DAVID R. MELTON
               General Counsel for CNS
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                 and Heartland Christian College
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               (816) 842-6300
               Counsel for Amici Curiae
JANUARY 2016




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                                   USAO ATTORNEY’S FEES MATRIX – 2015 – 2017

                                            Revised Methodology starting with 2015-2016 Year

                        Years (Hourly Rate for June 1 – May 31, based on change in PPI-OL since January 2011)

     Experience     2015-16     2016-17

     31+ years         568         581

     21-30 years       530         543

     16-20 years       504         516

     11-15 years       455         465

     8-10 years        386         395

      6-7 years        332         339

      4-5 years        325         332

      2-3 years        315         322

     Less than 2       284         291
       years

 Paralegals &          154         157
 Law Clerks

                                                             Explanatory Notes

1.         This matrix of hourly rates for attorneys of varying experience levels and paralegals/law clerks has been prepared by
           the Civil Division of the United States Attorney's Office for the District of Columbia (USAO) to evaluate requests for
           attorney’s fees in civil cases in District of Columbia courts. The matrix is intended for use in cases in which a fee-
           shifting statute permits the prevailing party to recover “reasonable” attorney’s fees. See, e.g., 42 U.S.C. § 2000e-5(k)
           (Title VII of the 1964 Civil Rights Act); 5 U.S.C. § 552(a)(4)(E) (Freedom of Information Act); 28 U.S.C. § 2412(b)
           (Equal Access to Justice Act). The matrix has not been adopted by the Department of Justice generally for use
           outside the District of Columbia, or by other Department of Justice components, or in other kinds of cases. The
           matrix does not apply to cases in which the hourly rate is limited by statute. See 28 U.S.C. § 2412(d).

2.         A “reasonable fee” is a fee that is sufficient to attract an adequate supply of capable counsel for meritorious cases.
           See, e.g., Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 552 (2010). Consistent with that definition, the hourly rates
           in the above matrix were calculated from average hourly rates reported in 2011 survey data for the D.C. metropolitan
           area, which rates were adjusted for inflation with the Producer Price Index-Office of Lawyers (PPI-OL) index. The
           survey data comes from ALM Legal Intelligence’s 2010 & 2011 Survey of Law Firm Economics. The PPI-OL index
           is available at http://www.bls.gov/ppi. On that page, under “PPI Databases,” and “Industry Data (Producer Price
           Index - PPI),” select either “one screen” or “multi-screen” and in the resulting window use “industry code” 541110
           for “Offices of Lawyers” and “product code” 541110541110 for “Offices of Lawyers.” The average hourly rates
           from the 2011 survey data are multiplied by the PPI-OL index for May in the year of the update, divided by 176.6,
           which is the PPI-OL index for January 2011, the month of the survey data, and then rounding to the nearest whole
           dollar (up if remainder is 50¢ or more).

3.         The PPI-OL index has been adopted as the inflator for hourly rates because it better reflects the mix of legal services
           that law firms collectively offer, as opposed to the legal services that typical consumers use, which is what the CPI-



                                                                                                                   Exhibit	5

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      Legal Services index measures. Although it is a national index, and not a local one, cf. Eley v. District of Columbia,
      793 F.3d 97, 102 (D.C. Cir. 2015) (noting criticism of national inflation index), the PPI-OL index has historically
      been generous relative to other possibly applicable inflation indexes, and so its use should minimize disputes about
      whether the inflator is sufficient.

4.    The methodology used to compute the rates in this matrix replaces that used prior to 2015, which started with the
      matrix of hourly rates developed in Laffey v. Northwest Airlines, Inc. 572 F. Supp. 354 (D.D.C. 1983), aff’d in part,
      rev’d in part on other grounds, 746 F.2d 4 (D.C. Cir. 1984), cert. denied, 472 U.S. 1021 (1985), and then adjusted
      those rates based on the Consumer Price Index for All Urban Consumers (CPI-U) for the Washington-Baltimore
      (DC-MD-VA-WV) area. Because the USAO rates for the years 2014-15 and earlier have been generally accepted as
      reasonable by courts in the District of Columbia, see note 9 below, the USAO rates for those years will remain the
      same as previously published on the USAO’s public website. That is, the USAO rates for years prior to and
      including 2014-15 remain based on the prior methodology, i.e., the original Laffey Matrix updated by the CPI-U for
      the Washington-Baltimore area. See Citizens for Responsibility & Ethics in Washington v. Dep’t of Justice, --- F.
      Supp. 3d ---, 2015 WL 6529371 (D.D.C. 2015) and Declaration of Dr. Laura A. Malowane filed therein on Sept. 22,
      2015 (Civ. Action No. 12-1491, ECF No. 46-1) (confirming that the USAO rates for 2014-15 computed using
      prior methodology are reasonable).

5.    Although the USAO will not issue recalculated Laffey Matrices for past years using the new methodology, it will not
      oppose the use of that methodology (if properly applied) to calculate reasonable attorney’s fees under applicable fee-
      shifting statutes for periods prior to June 2015, provided that methodology is used consistently to calculate the entire
      fee amount. Similarly, although the USAO will no longer issue an updated Laffey Matrix computed using the prior
      methodology, it will not oppose the use of the prior methodology (if properly applied) to calculate reasonable
      attorney’s fees under applicable fee-shifting statutes for periods after May 2015, provided that methodology is used
      consistently to calculate the entire fee amount.

6.    The various “brackets” in the column headed “Experience” refer to the attorney’s years of experience practicing law.
      Normally, an attorney’s experience will be calculated starting from the attorney’s graduation from law school. Thus,
      the “Less than 2 years” bracket is generally applicable to attorneys in their first and second years after graduation
      from law school, and the “2-3 years” bracket generally becomes applicable on the second anniversary of the
      attorney’s graduation (i.e., at the beginning of the third year following law school). See Laffey, 572 F. Supp. at 371.
      An adjustment may be necessary, however, if the attorney’s admission to the bar was significantly delayed or the
      attorney did not otherwise follow a typical career progression. See, e.g., EPIC v. Dep’t of Homeland Sec., 999
      F. Supp. 2d 61, 70-71 (D.D.C. 2013) (attorney not admitted to bar compensated at “Paralegals & Law Clerks” rate);
      EPIC v. Dep’t of Homeland Sec., 982 F. Supp. 2d 56, 60-61 (D.D.C. 2013) (same). The various experience levels
      were selected by relying on the levels in the ALM Legal Intelligence 2011 survey data. Although finer gradations in
      experience level might yield different estimates of market rates, it is important to have statistically sufficient
      sample sizes for each experience level. The experience categories in the current USAO Matrix are based on
      statistically significant sample sizes for each experience level.

7.    ALM Legal Intelligence’s 2011 survey data does not include rates for paralegals and law clerks. Unless and until
      reliable survey data about actual paralegal/law clerk rates in the D.C. metropolitan area become available, the USAO
      will compute the hourly rate for Paralegals & Law Clerks using the most recent historical rate from the USAO’s
      former Laffey Matrix (i.e., $150 for 2014-15) updated with the PPI-OL index. The formula is $150 multiplied by the
      PPI-OL index for May in the year of the update, divided by 194.3 (the PPI-OL index for May 2014), and then
      rounding to the nearest whole dollar (up if remainder is 50¢ or more).

8.    The USAO anticipates periodically revising the above matrix if more recent reliable survey data becomes available,
      especially data specific to the D.C. market, and in the interim years updating the most recent survey data with the
      PPI-OL index, or a comparable index for the District of Columbia if such a locality-specific index becomes available.

9.    Use of an updated Laffey Matrix was implicitly endorsed by the Court of Appeals in Save Our Cumberland
      Mountains v. Hodel, 857 F.2d 1516, 1525 (D.C. Cir. 1988) (en banc). The Court of Appeals subsequently stated that
      parties may rely on the updated Laffey Matrix prepared by the USAO as evidence of prevailing market rates for
      litigation counsel in the Washington, D.C. area. See Covington v. District of Columbia, 57 F.3d 1101, 1105 & n.14,
      1109 (D.C. Cir. 1995), cert. denied, 516 U.S. 1115 (1996). Most lower federal courts in the District of Columbia




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 have relied on the USAO Matrix, rather than the so-called “Salazar Matrix” (also known as the “LSI Matrix” or the
 “Enhanced Laffey Matrix”), as the “benchmark for reasonable fees” in this jurisdiction. Miller v. Holzmann, 575 F.
 Supp. 2d 2, 18 n.29 (D.D.C. 2008) (quoting Pleasants v. Ridge, 424 F. Supp. 2d 67, 71 n.2 (D.D.C. 2006)); see, e.g.,
 Joaquin v. Friendship Pub. Charter Sch., --- F. Supp. 3d ---, 2016 WL 3034151 (D.D.C. 2016); Prunty v. Vivendi, ---
 F. Supp. 3d ---, 2016 WL 3659889 (D.D.C. 2016); CREW v. U.S. Dep’t of Justice, --- F. Supp. 3d ---, 2015 WL
 6529371 (D.D.C. 2015); McAllister v. District of Columbia, 21 F. Supp. 3d 94 (D.D.C. 2014); Embassy of Fed.
 Republic of Nigeria v. Ugwuonye, 297 F.R.D. 4, 15 (D.D.C. 2013); Berke v. Bureau of Prisons, 942 F. Supp. 2d 71,
 77 (D.D.C. 2013); Fisher v. Friendship Pub. Charter Sch., 880 F. Supp. 2d 149, 154-55 (D.D.C. 2012); Sykes v.
 District of Columbia, 870 F. Supp. 2d 86, 93-96 (D.D.C. 2012); Heller v. District of Columbia, 832 F. Supp. 2d 32,
 40-49 (D.D.C. 2011); Hayes v. D.C. Public Schools, 815 F. Supp. 2d 134, 142-43 (D.D.C. 2011); Queen Anne’s
 Conservation Ass’n v. Dep’t of State, 800 F. Supp. 2d 195, 200-01 (D.D.C. 2011); Woodland v. Viacom, Inc., 255
 F.R.D. 278, 279-80 (D.D.C. 2008); American Lands Alliance v. Norton, 525 F. Supp. 2d 135, 148-50 (D.D.C. 2007).
 But see, e.g., Salazar v. District of Columbia, 123 F. Supp. 2d 8, 13-15 (D.D.C. 2000). The USAO contends that the
 Salazar Matrix is fundamentally flawed, does not use the Salazar Matrix to determine whether fee awards under fee-
 shifting statutes are reasonable, and will not consent to pay hourly rates calculated with the methodology on which
 that matrix is based.




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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

 _________________________________

 SHARPE HOLDINGS, INC., et al.,

              Plaintiffs-Appellees,

       v.                                           No. 14-1507

 UNITED STATES DEPARTMENT
 OF HEALTH AND HUMAN
 SERVICES, et al.,

              Defendants-Appellants.


                        DECLARATION OF TIMOTHY BELZ

       I, Timothy Belz, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a principal in the law firm of Ottsen, Leggat & Belz, L.C. in

 Clayton, Missouri. My current curriculum vitae is attached hereto and

 incorporated herein.

       2.     I have been admitted to the Missouri bar and the U.S. District Court

 for the Eastern District of Missouri since 1982. I have been admitted to the Eighth

 Circuit Court of Appeals since 1983 and the U.S. Supreme Court since 1985.

       3.     A central concentration of my practice since 1982 has been in

 constitutional law. Since then, I have been responsible for major civil rights cases

 under 42 U.S.C. 1983 in federal district court in Missouri and Illinois, and in other


                                          	                                Exhibit	6



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 federal and state cases that involved the constitutional rights of individuals. Some

 of those cases which have been officially reported are listed in the attached

 curriculum vitae.

         4.    I am generally familiar with the rates charged by Missouri and St.

 Louis lawyers in litigation, including constitutional and civil rights cases wherein

 attorney fees awards are applicable pursuant to 42 U.S.C. 1988.

         5.    As the curricula vitae of Professor Carl Esbeck and mine show, we

 each have more than 30 years experience in constitutional law, with a particular

 emphasis on religious liberty. He and I both have national reputations in this area

 of the law. J. Matthew Belz, a partner of mine, has authored dozens of substantive

 briefs in civil rights cases, including those dealing especially with religious liberty.

         6.    Based on my experience and knowledge of the St. Louis legal

 marketplace, hourly rates of $450.00 for Carl Esbeck and me and $250.00 for

 Matthew Belz are at or below market norms for prevailing rates charged in

 constitutional civil rights cases for lawyers of our skill and experience. This is

 particularly so with respect to a case involving religious liberties and brought

 under the Religious Freedom Restoration Act (“RFRA”), which is similar to, if not

 for all practical purposes the equivalent of, a Section 1983 civil rights case. In

 either case, fees and expenses are awarded under 42 U.S.C. 1988.




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         7.    In the case at bar, the hours I report in the invoices submitted to the

 Court represent substantially fewer hours than I actually spent on this matter.

                                  VERIFICATION

 Declaration of Timothy Belz in Lieu of Affidavit pursuant to 28 U.S.C. § 1746:

 I declare under penalty of perjury under the laws of the United States that the
 foregoing statements are true and correct.

 Executed November 3, 2017.

                                          /s/ Timothy Belz
                                          Timothy Belz




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                                        FAX 314/863-3821
                                       tbelz@olblaw.com

 EMPLOYMENT

       Ottsen, Leggat & Belz, L.C.                                          St. Louis, Missouri
       (formerly Ottsen, Mauzé, Leggat & Belz, L.C.)
       1995-present

       A partner, specializing in litigation, including appeals, since July 1995. Have handled a
              variety of commercial, probate dispute and constitutional cases.

       Belz Jones & Hickel P.C. (and predecessor firms)                     St. Louis, Missouri
       1982-1995

       Specialized in litigation, including appeals, for this firm and its predecessors, handling a wide
               variety of commercial, constitutional and probate dispute cases.

       Antitrust Division, U.S. Department of Justice                         Atlanta, Georgia
       Trial Attorney, 1977-1981

       Recipient of Special Achievement Award, awarded by Attorney General Benjamin Civiletti in
              1980.

       Was part of 10-15 lawyer field office of the Antitrust Division with responsibility for
             prosecuting price-fixing and bid-rigging cases in Southeastern United States. Was
             actively involved in investigating and trying a variety of such cases, including but not
             limited to gasoline price fixing, contract hardware bid rigging, highway construction
             bid rigging and customer allocation, and other per se violations of the Sherman Act.

 EDUCATION

       University of Iowa College of Law                                       Iowa City, Iowa
       J.D., 1976

       Order of the Coif
       Graduated with high distinction
       Top ten percent




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 BAR MEMBERSHIP, PROFESSIONAL AFFILIATIONS, PROFESSIONAL RECOGNITION, ETC.

       Admitted to Practice in Missouri, Georgia and Iowa, United States District Court for the
              Eastern District of Missouri, Eighth Circuit Court of Appeals, United States
              Supreme Court

       Martindale-Hubbell Peer Review Rated AV Preeminent 5.0 out of 5 (highest rating possible
              for competence and ethics)

       Influential Appellate Advocate Award, 2017, Missouri Lawyers Weekly, for representing CNS
               Int’l Ministries, Inc. and Heartland Christian College in the Eighth Circuit Court of
               Appeals in 2015.

       Missouri Attorney of the Year (one of ten), 2004, Missouri Lawyers Weekly

       Missouri & Kansas Super Lawyers 2005 (Clayton, Missouri)

       Board Member, Christian Legal Society, Springfield, Virginia, 2001-2010

       Committee Member, Center for Law and Religious Freedom, Christian Legal Society,
            Springfield, Virginia, 1999-present

 REPRESENTATIVE CASES (NOT EXHAUSTIVE):

       Wieland v. U.S. Dept. of Health and Human Serv., 793 F.3d 949 (8th Cir. 2015). Lead counsel in
               case establishing that individual Missouri state employees have standing to challenge
               the contraceptive mandate contained in the Affordable Care Act and implementing
               regulations.

       Heartland Academy Community Church v. Waddle, 595 F.3d 798 (8th Cir. 2010). Lead counsel on
               appeal in damage case denying immunity to Missouri juvenile officers and social
               workers accused of violating the constitutional rights of private religious school, its
               students and their parents.

       Heartland Academy Community Church v. Waddle, 427 F.3d 525 (8th Cir. 2005). Lead counsel on
               appeal, successfully defending permanent injunction of district court (317 F.Supp.2d
               984 (E.D.Mo. 2004)) against state juvenile officer who had violated constitutional
               rights of private religious school, its students and their parents. Obtained $775,000
               payment by State of Missouri for legal fees and expenses related to securing the
               injunction.

       Heartland Academy Community Church v. Waddle, 335 F.3d 684 (8th Cir. 2003). Lead counsel on
               appeal, successfully defending preliminary injunction of district court against state
               juvenile officer for violation of constitutional rights of private religious school, its
               students and their parents.

       Good News/Good Sports Club v. School Dist. Of the City of Ladue, 28 F.3d 1501 (8th Cir. 1994), cert.
             denied, 515 U.S. 1173 (1995). Lead counsel at trial and active co-counsel on


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                successful appeal of case establishing rights of student to meet in public school
                facilities. Section 1983 case involving complex free speech and other First
                Amendment issues. Also succeeded in obtaining more than $275,000.00 in court-
                ordered attorney fees and expenses.

        Eva Hummel-Jones, et ux. v. Strope, et al., 25 F.3d 647 (8th Cir. 1994). Active co-counsel (wrote
              brief) on successful appeal of Section 1983 case between Missouri family and law
              enforcement officials involving complex Fourth Amendment issues.

        U.S. v. Cargo Service Stations, 657 F.2d 676 (5th Cir. Unit B 1981), cert.denied, 455 U.S. 1017
                (1982). Active co-counsel in investigating and trying this statewide (Florida) price-
                fixing case.

        Jamison v. Missouri Dept. of Soc. Serv., 218 S.W.3d 399 (Mo. banc 2007). Lead counsel on
                appeal in case in which he successfully argued before the Missouri Supreme Court
                that teachers and child-care workers should not be blacklisted by the state prior to a
                meaningful due process hearing, thus striking down substantial portions of Missouri
                law as unconstitutional.

        Presbytery of Elijah Parish Lovejoy v. Jaeggi, 682 S.W.2d 465 (Mo. banc), cert. denied, 471 U.S. 1117
                 (1985). Lead counsel in church property case involving complex First Amendment
                 issues. Convinced Missouri Supreme Court to substantially change, if not reverse,
                 approach it had taken in such cases since 1914.

        Gibson v. Brewer, 952 S.W.2d 239 (Mo. banc 1997). Was active co-counsel on amicus curiae
                brief that was followed by Missouri Supreme Court in restricting supervisor liability
                (legal responsibility of supervising bishop, etc.) in child molestation cases by parish
                priests.

        State v. Eisenhouer, 40 S.W.3d 916 (Mo. banc 2001). Filed amicus brief addressing the
                 constitutional rights of elders of church who had been subpoenaed to give testimony
                 against parishioner before grand jury.

        Conservatorship Estate of Moehlenpah, 763 S.W.2d 249 (Mo. App. E.D. 1988). Lead counsel for
                respondents in intra-family probate dispute involving competency.

        Pasta House Co. v. Williams, et al., 833 S.W.2d 460 (Mo. App. E.D. 1992). Lead counsel for
               respondent in case involving duties of professional surveyor.

        State ex rel. Pini v. Moreland, 686 S.W.2d 499 (Mo. App. E.D. 1984). Lead counsel in pro bono
                 case in which appeals court reversed criminal contempt convictions of protestors.

        NOW, et al. v. Scheidler, et al., 968 F.2d 612 (7th Cir. 1992), affirming 765 F. Supp. 937 (N.D. Ill.
              1991). Active co-counsel in pro bono case establishing that federal antitrust statutes
              cannot be used against social protestors who lack economic motivation.

        Webster, et al., v. RHS, et al., 492 U.S. 490 (1989). Lead counsel in preparation and filing of
                amici curiae brief filed on behalf of 127 members of the Missouri legislature.


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        Have been lead counsel in numerous other cases involving civil liberties, Uniform
              Commercial Code and other commercial disputes, insurance coverage questions,
              probate disputes, constitutional questions, etc., which have not resulted in reported
              cases.




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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE EIGHTH CIRCUIT

  _________________________________

  SHARPE HOLDINGS, INC., et al.,

                Plaintiffs-Appellees,

        v.                                              No. 14-1507

  UNITED STATES DEPARTMENT
  OF HEALTH AND HUMAN
  SERVICES, et al.,

               Defendants-Appellants.


                      DECLARATION OF CARL H. ESBECK

        I, Carl H. Esbeck, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am the R.B. Price Professor and Isabella Wade & Paul C. Lyda

  Professor of Law Emeritus at the School of Law, University of Missouri. My

  current curriculum vitae is attached hereto and incorporated herein.

        2.     I was admitted to the bar of the State of New Mexico in 1974 and to

  the bar of the State of Missouri in 1983.

        3.     When I was in the private practice of law from 1975 to 1981, about

  half of my practice involved federal civil rights and constitutional law litigation. I

  left private practice as an equity partner in my law firm. I joined the faculty at the

  University of Missouri in the fall of 1981. I have taught the Law School’s courses


                                              	                               Exhibit	7


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  on Federal Constitutional Law, Federal Civil Rights Litigation, Civil Procedure,

  and Religious Liberty & Church-State Relations. I have been a consultant for

  major civil rights cases that sought a remedy per 42 U.S.C. 1983 in federal district

  courts in Missouri, Colorado, and Illinois. I also have written scores of briefs

  amicus curiae in federal and state cases that involved the constitutional rights of

  religious organizations and individuals.

          4.    From March of 2001 to August of 2002, I worked in Washington,

  D.C. as Special Counsel to the Deputy Attorney General, U.S. Department of

  Justice. I was assigned to First Amendment matters and was the liaison to the

  White House Office of Faith-Based & Community Initiatives.

          5.    I am generally familiar with the rates charged by Missouri and St.

  Louis lawyers in litigation, including constitutional and civil rights cases wherein

  attorney fees awards are available to prevailing parties pursuant to 42 U.S.C. 1988.

          6.    As the curricula vitae of Timothy Belz and mine show, he has more

  than 30 years’ and I more than 40 years’ experience in constitutional litigation,

  with a particular emphasis on the statutory and constitutional rights bearing on

  religious freedom. He and I both have national reputations in this area of the law.

          7.    Based on my experience and knowledge of the St. Louis legal

  marketplace, hourly rates of $450.00 for Timothy Belz and me are at or below

  market norms for prevailing rates charged in constitutional and civil rights


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  litigation by lawyers of our skill and experience. This is especially so with respect

  to a case brought under the Religious Freedom Restoration Act (“RFRA”), 42

  U.S.C. 2000bb et seq., which is similar to litigation under Section 1983. In both

  instances fees and expenses are awarded to prevailing parties under 42 U.S.C.

  1988.

          8.    In the case at bar, the hours I report in the invoices submitted to the

  Court represent fewer hours than I actually spent studying the growing controversy

  concerning the Affordable Care Act and its contraception mandate.

                                   VERIFICATION

  Declaration of Carl H. Esbeck in Lieu of Affidavit pursuant to 28 U.S.C. § 1746:

  I declare under penalty of perjury under the laws of the United States that the
  foregoing statements are true and correct.

  Executed November 3, 2017.
                                                        /s/ Carl H. Esbeck
                                                        Carl H. Esbeck	




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                                 CURRICULUM VITAE
                                              OF
                                    CARL H. ESBECK

   I.       CONTACTS

            Office:       Room 209, John K. Hulston Hall
                          School of Law
                          University of Missouri
                          Columbia, Missouri 65211
                          573-882-6543 (direct line with voice mailbox)
                          573-882-6487 (switchboard)
                          e-mail: esbeckc@missouri.edu

            Home:         3264 S. Country Woods Road
                          Columbia, Missouri 65203

  II.       EDUCATION

            Cornell University School of Law, Ithaca, New York
             Juris Doctor, magna cum laude, 1974

            Honors:
             Herbert R. Reif prize for the best law review student comment
             Board of Editors, Cornell Law Review
             The Order of the Coif
             Phi Kappa Phi (scholastic honorary)

            Iowa State University of Science and Technology, Ames, Iowa
             Bachelor of Science, 1971, major in mechanical engineering

  III.      EMPLOYMENT

            2014 – present
                 R.B. Price Professor and Isabelle Wade & Paul C. Lyda Professor of Law
                 emeritus, University of Missouri.

            2002 - 2014
                 R.B. Price Professor and Isabelle Wade & Paul C. Lyda Professor of Law,
                 University of Missouri. Teaching assignments are Civil Rights, Constitutional
                 Law, Religious Liberty, Civil Procedure I, and Civil Procedure II. Publications
                 are in the areas of church-state relations and federal civil rights litigation.

            2001 - 2002




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                 Senior Counsel to the Deputy Attorney General, U.S. Department of Justice,
                 and Director of the Department of Justice’s Task Force on Faith-Based and
                 Community Initiatives.

           1999 - 2001
                Director, Center for Law & Religious Freedom, Springfield, Virginia. The
                Center is a public interest law firm operating under the auspices of the
                Christian Legal Society. The Center does litigation, governmental affairs, and
                public education.

           1991 - 1999
                Isabelle Wade & Paul C. Lyda Professor of Law, University of Missouri.

           1985 - 1991
                Professor of Law, University of Missouri.

           1981-1985
                Associate Professor of Law, University of Missouri.

           1981 -
                Director/Partner, Rodey, Dickason, Sloan, Akin & Robb, P.A., Albuquerque,
                New Mexico.

           1975-1980
                Associate, Rodey, Dickason, Sloan, Akin & Robb, P.A., Albuquerque, New
                Mexico.
                         My practice was principally in the areas of civil rights and commercial
                litigation in both the federal and state courts and at both the trial and appellate
                levels. The civil rights cases largely centered on matters of academic freedom
                and tenure, restraints on freedom of speech and association, establishment and
                free exercise questions, procedural due process in order to protect property and
                liberty interests, public schools affording a free equivalent education to
                handicapped students under Sec. 504 of the Rehabilitation Act of 1973, and
                employment discrimination. The commercial litigation cases focused on
                matters involving Articles 2 and 9 of the Uniform Commercial Code. The firm
                of Rodey, Dickason, Sloan, Akin & Robb, P.A., has a general civil practice.
                When I became a director it was the largest and oldest law firm in the State of
                New Mexico.

           1974-1975
                Judicial Law Clerk, The Honorable Howard C. Bratton, Chief Judge of United
                States District Court for the District of New Mexico, Albuquerque, New
                Mexico.




   Appellate
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  IV.      SELECTED HONORS

           2014 Recipient of the Lloyd E. Roberts Memorial Prize in the Administration of
           Justice at the MU School of Law, awarded for pro bono publico work in defense of
           the first amendment.

           2014 Recognition by Board of Directors, National Association of Evangelicals, for
           ten years of pro bono publico work on behalf of the association.

           2012 Recipient of the Shook Hardy & Bacon, Excellence in Research Award at the
           MU School of Law, for excellence in faculty publications.

           2010 Recipient of the Husch Blackwell Distinguished Faculty Achievement Award at
           the MU School of Law, for excellence in teaching.

           2010 Selectee for Listing in Marquis’ Who’s Who in America (65th and later
           editions).

           1999 Recipient of the Shook Hardy & Bacon, Excellence in Research Award at the
           MU School of Law, for excellence in faculty publications.

           1995 Recipient of the Defender of Religious Freedom award presented by the Center
           for Law & Religious Freedom of the Christian Legal Society.

           1995 Recipient of the Blackwell Sanders Distinguished Faculty Achievement Award
           at the MU School of Law, for excellence in teaching.

           1992 Recipient of the Lloyd E. Roberts Memorial Prize in the Administration of
           Justice at the MU School of Law, awarded for my work on “charitable choice” and
           subsequent faith-based social service regulation and administration.

           1987 Professor of the Year, selected by the students at the MU School of Law.

  V.       PUBLICATIONS

           ACADEMIC JOURNALS

           When Religious Exemptions Cause Third-Party Harms: Is the Establishment Clause
           Violated? 59 OXFORD J. OF CHURCH & ST. 357 (2016),
           https://academic.oup.com/jcs/article/59/3/357/2805473/Wh
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           3fcfe8c54a6d.




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           Establishment Clause, 7 CHARLESTON LAW REVIEW 607 (2013).

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           Establishment Clause, 78 MISSISSIPPI LAW JOURNAL 199 (2008).

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           Catachreses, 34 HOFSTRA LAW REVIEW 1331 (2006).

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           Republic, 2004 BYU LAW REVIEW 1385-1592 (2004).

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           in NO ESTABLISHMENT OF RELIGION: AMERICA’S ORIGINAL CONTRIBUTION TO
           RELIGIOUS LIBERTY (T. Jeremy Gunn & John Witte, Jr., eds., Oxford Univ. Press
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           Peter Lang Publishers 2001).

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           Charitable Choice and Its Critics, in WELFARE REFORM AND FAITH-BASED
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           Wood ed., 1990), in 8 J. OF LAW & RELIGION 651 (1990).

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           State, in GOVERNMENT INTERVENTION IN RELIGIOUS AFFAIRS (Dean Kelley, ed.,
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           Institute at Georgetown University,
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           Establishment Clause, Hearing on Oversight of the Religious Freedom Restoration
           Act and the Religious Land Use and Institutionalized Persons Act, before the
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           Constitution and Civil Justice (February 13, 2015) http://www.irfalliance.org/wp-
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           Tabor and the Frist Amendment, 13 ENGAGE 168 (2012).

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           Establishment Clause, 10 ENGAGE 83 (2009).

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           Clauses Embedded in Federal Social Services Programs, 9 ENGAGE 140
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           On Rights and Restraints, 94 LIBERTY MAGAZINE 22-29 (March/April 1999).

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           Current Practice Under 42 U.S.C. Sections 1985 and 1986, 11 BARRISTER
           MAGAZINE 34 (ABA Fall 1984) (w/ Larry Schumaker).

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           MONOGRAPHS




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  CURRICULUM VITAE - CARL H. ESBECK
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            ISBN: 0-936456-04-3

           A GUIDE TO CHARITABLE CHOICE: THE RULES OF SECTION 104 OF THE 1996 FEDERAL
           WELFARE LAW GOVERNING STATE COOPERATION WITH FAITH-BASED SOCIAL-
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           THE REGULATION OF RELIGIOUS ORGANIZATIONS AS RECIPIENTS OF GOVERNMENTAL
           FINANCIAL ASSISTANCE (Center for Public Justice, 1996). ISBN: 0-936456-03-5.

           ENCYCLOPEDIA ENTRIES AND OTHER COLLECTED WORKS

           ENCYCLOPEDIA OF CHRISTIANITY IN THE UNITED STATES (Mark A. Lamport, ed.,
           Rowman & Littlefield Publishers forthcoming 2016) (entries for Religious Freedom
           Restoration Act, Religious Land Use & Institutionalized Persons Act, United States
           v. Ballard, and Everson v. Board of Education).

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           Opportunities, 2005-08, paper presented at the Federalist Society Conference on the
           Faith-Based Initiative: What’s in Store for the Second Term? (Feb. 10, 2005),
           available on line at www.fed-soc.org/Publications/Transcripts/faithbased/pdf.

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           & RELIGION 573 (1994).

           1993 Survey of Trends and Developments on Religious Liberty in the Courts, 10 J. OF
           LAW & RELIGION 543 (1994).



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           A Topology of Church-State Relations in Current American Thought, 8 J. OF FAITH
           AND MISSION 3 (1990).

           Ecclesiastical Disciplinary Law and The Law of Church Employees, a seven volume
           work entitled EVANGELISCHES KIRCHENLEXICON (West Germany, 1990)
           (encyclopedia entries describing the law of the U.S.).

           Concepts of Church Autonomy in the First Amendment, in PROCEEDINGS OF THE
           ABA NATIONAL INSTITUTE ON TORT AND RELIGION (May 1989).

           A Topology of Church-State Relations in American Thought, in 15 RELIGION AND
           PUBLIC EDUCATION 43 (Winter 1988) (reprint).

           1987 Survey of Trends and Developments on Religious Liberty and the Courts, in 5
           J. OF LAW & RELIGION (1988).

           Religion and a Neutral State: Imperative or Impossibility?, in RELIGION IN
           AMERICAN LIFE (Podell ed., H.W. Wilson Co. 1987) (reprint).

           1986 Survey of Trends and Developments On Religious Liberty in the Courts, 4 J. OF
           LAW & RELIGION 431 (1987).

           Religious Beliefs, Human Rights and the Moral Foundation of Western Democracy,
           in 1986 PAINE LECTURES IN RELIGION (C. Esbeck ed., 1986).

           1985 Survey of Trends and Developments on Religious Liberty in the Courts, 3 J. OF
           LAW & RELIGION 211 (1986).

           Toward a General Theory of Church-State Relations and the First Amendment, 4
           PUBLIC LAW FORUM 325 (1985).

           The Limits on Law in Directing Moral Choice, 34 ETERNITY MAGAZINE 64
           (September 1983); reprinted in 4 CLS QUARTERLY 26 (Fall 1983).

           A Primer on Religious Liberty and the First Amendment, 3 CLS QUARTERLY 1A
           (Summer 1982).

  VI.     ACADEMIC & PROFESSIONAL ACTIVITIES

                I have published widely in the area of religious liberty and church-state
           relations. I took the lead in recognizing that the modern U.S. Supreme Court has
           applied the establishment clause not as an individual right, but as a structural limit on
           the government’s authority in explicitly religious matters. This paradigm shift has



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           led a movement that better explains the Court special rules on standing with respect
           to claims under the establishment clause, and is helping to recover notions of church
           autonomy in an otherwise growing regulatory environment.
                I am recognized as the progenitor of "charitable choice," an integral part of the
           1996 Federal Welfare Reform Act (see 42 U.S.C. § 604a). That legislation was later
           made a part of three additional federal welfare programs during the Clinton
           Administration. I followed up that effort by assisting in the promulgation of equal-
           treatment regulations during the Bush Administration. I continue to work on
           President Obama’s Office of Faith-Based and Neighborhood Partnerships concerning
           such matters as the right of social-service providers to employ person of like-minded
           faith.
               While on leave from 1999 to 2002, I directed the Center for Law & Religious
           Freedom and then served as Senior Counsel to the Deputy Attorney General at the
           U.S. Department of Justice. While directing the Center, I was part of a small
           advocacy team at the Senate which led to passage of the Religious Land Use and
           Institutionalized Persons Act of 2000 (RLUIPA). While at the Department of Justice
           I worked on first amendment matters generally. Additionally, one of my duties was
           to direct a task force to remove barriers to the equal-treatment of faith-based
           organizations applying for social-service grants.
               In addition to traditional scholarship, I provide pro bono legal advice to the
           National Association of Evangelicals, the Center for Law & Religious Freedom, and
           each year author or coauthor four to six briefs amicus curiae on various first
           amendment matters in the federal and state courts.

  VII.     SERVICE TO THE SCHOOL OF LAW

           Over multiple years I have served as a member or chair of various committees at the
           MU School of Law, including the following: Tenure & Promotion Committee,
           Reaccreditation Self-Study Committee, Faculty Appointments, Honor Code
           Committee, Judicial Clerkship Committee, Standards & Readmissions Committee,
           Tenure & Promotion Committee, Search Committee for the Campbell Missouri
           Endowed Chair, and the ad hoc Planning Committee.

  VIII.    PROFESSIONAL LICENSES & AFFILIATIONS

           Bar Admissions: 1974 State of New Mexico; 1974 United States District Court for
           the District of New Mexico; 1976 United States Court of Appeals for the Tenth
           Circuit; 1982 State of Missouri; 1990 United States Court of Appeals for the Eighth
           Circuit; 1997 United States Supreme Court.

           Member, Association of American Law Schools, American Bar Association, and
           Missouri Bar Association.




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                Executive Committee of the Religious Liberty Practice Group of The Federalist
                Society, Washington, D.C.

                Board of Directors & Member, Christian Legal Society, Washington, D.C.

                Legal Counsel, National Association of Evangelicals, Washington, D.C.



  August 2016




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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

  _________________________________

  SHARPE HOLDINGS, INC., et al.,

               Plaintiffs-Appellees,

        v.                                          No. 14-1507

  UNITED STATES DEPARTMENT
  OF HEALTH AND HUMAN
  SERVICES, et al.,

               Defendants-Appellants.


                    DECLARATION OF J. MATTHEW BELZ

        I, J. Matthew Belz, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am and have been since 2008 a member of the law firm of Ottsen,

  Leggat & Belz, L.C. in Clayton, Missouri. I was an associate until late in 2015, and

  have been a partner since that time.

        2.     In 2005, I graduated from the University of Missouri-Columbia with a

  major in business administration and a minor in philosophy. I graduated from the

  University Missouri School of Law in 2008.

        3.     I am a member of the Missouri bar, the Eastern District of Missouri,

  and the Eighth Circuit Court of Appeals.




                                          	                           Exhibit	8


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          4.    My primary focus is litigation. Within that field, I have spent as much

  as or more than half of my time working on 42 U.S.C. § 1983 and Religious

  Freedom Restoration Act (“RFRA”) cases. The bulk of my work in these cases

  consists of research and drafting briefs, and I was recently lead counsel in a

  Section 1983 case, Powell v. St. Francois County, 4:14-cv-01230 AGF (E.D. Mo.).

          5.    During this case I was primarily responsible for research and drafting

  pleadings and briefs. I believe the hours I have submitted were reasonably

  expended.

          6.    I am requesting compensation in this case at an hourly rate of $250

  per hour. Based on my knowledge of prevailing market rates and substantial

  research on the subject, $250 is a reasonable rate for a person of my background

  and experience.

                                   VERIFICATION

  Declaration of J. Matthew Belz in Lieu of Affidavit pursuant to 28 U.S.C. § 1746:

  I declare under penalty of perjury under the laws of the United States that the
  foregoing statements are true and correct.

  Executed November 3, 2017.

                                           /s/ J. Matthew Belz
                                           J. Matthew Belz




  	


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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

  _________________________________

  SHARPE HOLDINGS, INC., et al.,

               Plaintiffs-Appellees,

        v.                                           No. 14-1507

  UNITED STATES DEPARTMENT
  OF HEALTH AND HUMAN
  SERVICES, et al.,

               Defendants-Appellants.


                      DECLARATION OF AL W. JOHNSON

        I, Al W. Johnson, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am the principal and founder of New Covenant Legal Services in St.

  Louis, Missouri.

        2.     I have been admitted to the Missouri bar and the U.S. District Court

  for the Eastern District of Missouri since 1981. I have been admitted to the Illinois

  bar since 1998.

        3.     One of my practice’s concentrations is in civil rights. I have also

  taught courses on constitutional law at Missouri Baptist University.




                                           	                             Exhibit	9


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          4.    I am generally familiar with the rates charged by Missouri and St.

  Louis lawyers in litigation, including constitutional and civil rights cases wherein

  attorney fees awards are applicable pursuant to 42 U.S.C. 1988.

          5.    I have worked personally with Timothy Belz, Matthew Belz and Carl

  Esbeck in the civil rights context and am familiar with their legal work.

          6.    My work with Timothy Belz has been extensive, including two

  substantial police misconduct cases, one of which was tried to a jury verdict in

  2007 in the District Court Southern district of Illinois. My most extensive work

  with Timothy Belz in Section 1983 litigation was my involvement with him as co-

  counsel in a civil case relating to Heartland Academy Community Church.

  Heartland Acad. Cmty. Church v. Waddle, 317 F. Supp. 2d 984, 994 (E.D. Mo.

  2004) aff'd, 427 F.3d 525 (8th Cir. 2005). Between 2001 and 2010 I worked

  closely with Timothy Belz in a case where an injunction was eventually obtained,

  id., and the underlying civil rights violations were presented to a jury in 2010. The

  2010 case unfortunately resulted in a defendants’ verdict. Based on these

  experiences with Timothy Belz, I know that he has a keen comprehension of

  Section 1983 and religious liberties law and litigation and there is no finer

  litigation attorney in these areas that I have ever observed.

          7.    My observations of Matthew Belz are more limited but I have used

  him as co-counsel in over 25 cases, including a recent Section 1983 case. He was


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  my co-counsel in a complete circuit court jury trial that was completed in 2016.

  Although not as experienced as his father, he is an outstanding young attorney who

  demonstrates a high level of competence in legal research, writing and litigation.

          8.    I have worked with Carl Esbeck on only two or three legal matters in

  the past 25 years. However, I have participated in seminars with him and heard

  him speak on five to six occasions at legal seminars where Section 1983 matters

  were the primary topic of discussion. He has an exceptional grasp of all aspects of

  Section 1983 and religious liberties law.

          9.    Based on my experience and knowledge of the legal marketplace, I

  believe hourly rates of $450.00 for Timothy Belz and Carl Esbeck and $250.00 for

  Matthew Belz are within market norms as rates charged in a constitutional civil

  rights case for lawyers of their skill and experience.

                                   VERIFICATION

  Declaration of Al W. Johnson in Lieu of Affidavit pursuant to 28 U.S.C. 1746:

  I declare under penalty of perjury under the laws of the United States that the
  foregoing statements are true and correct.

  Executed November 3, 2017.

                                           /s/ Al W. Johnson
                                           Al W. Johnson
                                               	




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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

  _________________________________

  SHARPE HOLDINGS, INC., et al.,

               Plaintiffs-Appellees,

        v.                                           No. 14-1507

  UNITED STATES DEPARTMENT
  OF HEALTH AND HUMAN
  SERVICES, et al.,

               Defendants-Appellants.


               DECLARATION OF MARK F. (THOR) HEARNE II
               IN SUPPORT OF MOTION FOR ATTORNEY FEES

        I, Mark F. (Thor) Hearne II, declare the following to be true based upon my

  knowledge and experience:

        1.     I am an equity partner in the Arent Fox law firm. Before joining Arent

  Fox in 2010, I was an equity partner with Lathrop & Gage and managing partner

  for the St. Louis office of Lathrop & Gage.

        2.     I graduated from Washington University School of Law in 1986. I am

  licensed to practice in the States of Missouri and Michigan, and in the District of

  Columbia. I am also admitted to practice before the United States Supreme Court,

  the Courts of Appeal for the Second, Fourth, Sixth, Eighth and Federal Circuits,

  the United States Court of Federal Claims, the United States Tax Court, and the

                                           	
                                                                            Exhibit	10


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  United States Court of International Trade. I have argued before the United States

  Supreme Court, and the Supreme Courts of Missouri, Kansas, Florida and

  Michigan.

          3.    My practice primarily involves federal trial and appellate litigation.

  Many of the cases in which I am counsel are in the Court of Federal Claims and the

  Federal Circuit, representing owners whose property the federal government has

  taken in violation of the Fifth Amendment’s just compensation clause. Congress

  adopted the fee-shifting provisions of the Uniform Relocation Assistance Act, 42

  U.S.C. 4654, requiring the federal government to reimburse prevailing landowners’

  attorney fees and litigation expenses. Researching and resolving the government’s

  obligation to reimburse attorney fees under federal fee-shifting statutes is a

  necessary and significant part of my practice. I was also counsel for Lt. Governor

  Peter Kinder in Kinder v. Geithner, 695 F.3d 772 (8th Cir. 2012), which I argued.

          4.    I am chair of Arent Fox’s appellate practice group. As such, I am

  required to be familiar with the hourly rates fee-paying clients pay attorneys

  possessing comparable experience in those markets where Arent Fox practices.

          5.    I am familiar with the hourly rates fee-paying clients pay attorneys in

  St. Louis to represent them in federal litigation, including constitutional and civil

  rights litigation subject to federal fee-shifting statutes such as 42 U.S.C. 1988.




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          6.    I know Carl Esbeck, Timothy Belz and Matthew Belz, and I know

  their experience and the quality of their legal work. I was co-counsel with Carl

  Esbeck on amicus briefs before both the Eighth Circuit, in Trinity Lutheran Church

  of Columbia, Inc. v. Pauley, 788 F.3d 799 (8th Cir.), and in the Supreme Court, in

  Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012 (2017). I

  have known Tim Belz and Matt Belz for many years and am familiar with their

  reputations in the legal community and their experience.

          7.    Based on my experience and knowledge of the legal marketplace, I

  believe hourly rates of $450.00 for Tim Belz and Carl Esbeck and $250.00 for

  Matt Belz are substantially below prevailing market rates for attorneys possessing

  their skill and experience.

          FURTHER DECLARANT SAYETH NOT.



                                  VERIFICATION

  Declaration of Mark F. (Thor) Hearne II in Lieu of Affidavit pursuant to 28 U.S.C.
  1746:

  I declare under penalty of perjury under the laws of the United States that the
  foregoing statements are true and correct to the best of my knowledge and belief.

  Executed November 3, 2017.
                                                      /s/ Mark F. (Thor) Hearne II
                                                      Mark F. (Thor) Hearne II	




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